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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                   Chapter 11

         53 STANHOPE LLC, et al,1                                       Case no. 19-23013 (RDD)
                                                                        Jointly Administered
                                    Debtors.
----------------------------------------------------------x
                            NOTICE OF HEARING TO APPROVE SALE

                  PLEASE TAKE NOTICE, that a hearing will be held on March 14, 2022 at 10:00

a.m. (the “Hearing”) before the Honorable Robert D. Drain, by videoconference, to consider

approval of the sale of the real property owned by of 53 Stanhope LLC, 325, Franklin LLC, 618

Lafayette LLC, 92 South 4th St LLC, 834 Metropolitan Avenue LLC, 1125-1133 Greene Ave

LLC, APC Holding 1 LLC; Eighteen Homes LLC, and 1213 Jefferson LLC (each a “Debtor”,

and collectively, the “Debtors”), in accordance with the Order approving the Debtors’ Joint Plan

of Liquidation (the “Plan” Dkt. 285) and the Order and Notice of Amended Bidding and Auction

Procedures (Dkt. 357).

                  PLEASE TAKE FURTHER NOTICE, that the Debtors have selected the parties

set forth on the schedule annexed hereto as the winning bidders (the “Winning Bidders”) in the




1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
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amounts set forth therein, pursuant to the proposed contracts and contract addendums

collectively annexed hereto as Exhibit A.

               PLEASE TAKE FURTHER NOTICE, that based on the foregoing, the Debtors

seek the entry of orders substantially in the form annexed hereto as Exhibit B approving the sales

to the Winning Bidders.

Dated: New York, New York
       March 4, 2022


                                             BACKENROTH FRANKEL & KRINSKY, LLP
                                             Attorneys for Debtors


                                     By:     s/Mark A. Frankel
                                             800 Third Avenue
                                             New York, New York 10022
                                             (212) 593-1100
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                               Exhibit A
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                          SCHEDULE OF WINNING BIDDERS



 •   1125-1133 Greene Avenue
     Winning Bid: Marvin Azrak - Maguire Capital, $4,690,442.38 ($90,442.38 for Break-up fee)

 •   1213 Jefferson Avenue
     Winning Bid: Marvin Azrak - Maguire Capital, $994,169.85 ($19,169.85 for Break-up fee)

 •   568 Willoughby Avenue
     Winning Bid: Josef Mikkelson, $1,835,390.50 ($35,390.50 for Break-up fee)

 •   618 Lafayette Avenue
     Winning Bid: Joel Wertzberger, $1,631,459.24 ($31,459.24 for Break-up fee)

 •   834 Metropolitan Avenue
     Winning Bid: Joel Wertzberger, $1,641,654.83 ($31,654.83 for Break-up fee)

 •   92 South 4th Street, Brooklyn
     Winning Bid: Marvin Azrak - Maguire Capital, $2,447,187.33 ($47,187.33 for Break-up fee)

 •   325 Franklin Avenue, Brooklyn
     Winning Bid: Marvin Azrak - Maguire Capital, $2,778,577.28 ($53,577.28 for Break-up fee)

 •   53 Stanhope Street, Brooklyn
     Winning Bid: Marvin Azrak - Maguire Capital, $1,019,661.39 ($19,661.39 for Break-up fee)

 •   263 18th Street, Brooklyn
     Winning Bid: Marvin Azrak - Maguire Capital, $1,631,458.22 ($31,4458.22 for Break-up fee)
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  CONTRACT dated as of the _____ day of January, 2022 (this ··Contract"), between 1125-1133
  Greene Ave LLC (the '·Seller'· or "'Debtor··) having an address at
  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and Maguire BKLN LLC. having an address at
                                                            (the ··Purchaser'').
 --------------------
         Seller and Purchaser hereby covenant and agree as follows:

  1. Sale of Property

          Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser. and Purchaser shall
  purchase, at the price and upon the terms and conditions set forth in this Contract: the real
  properties located at



   l 125-1133 Greene Ave, Brookl '11 NY 11221           1125-1133 Greene Ave LLC

   (collective]y, the '"Property··). The sale of the Propetiy includes (a) all of its appurtenances,
  including any estate, right, title, interest~ property, claim and demand of Seller in and to all
  streets, alleys, rights-of-way, sidewalks, easements, any adjoining gores or strips of land and
  utility lines or agreements, including, without limitation. all development rights and '•air rights"
  of Sellers as of the date hereof; (b) all improvements, buildings and structures located on or at
  the Property and the facilities located thereon, and any apparatus, equipment, appliances and
  fixtures incorporated therein and used exclusively in connection \Vith the operation and
  occupancy thereof: (c) all plans. specifications. budgets. schedules. surveys, drawings. repotts
  and governmental applications, pennits. approvals and licenses issued by any federal, state or
  local governmental authority or agency pertaining to the ownership, operation~ maintenance,
  development, constrnction or use of the Property (collectively, the ··Plans and Permits''); and (d)
  all of its rights and licenses in and to use the Plans and Pennits.

          Paragraph 1.02. Purchaser acknowledgesthat the Sale shall be conducted pursuant to an
  Order of the United States Bankruptcy Cou11 for the Southern District of New York(11ereinaft,er
  the "'Bankruptcy Coui1') in Case No. 19-23013. entitled "Bidding and Auction Procedures"
  (hereinafter the .. Bidding Procedures~·) which ,-vas approved by the Bankruptcy Court on June 11,
  2021 and is deemed annexed to this Contract.

         Paragraph 1.03. Purchaser acknowledges that this sale is subjectto and governed by (1)
  the Orders of the Bankruptcy Court. (2) the provisions of the United States Bankruptcy Code
  (hereinafter the ··Code·~)~ (3) the laws of the State of New York, to the extent they do not conflict
  with (1) and (2), above. and (4) the Bidding and Auction Procedures approved pursuant to the
  motion of the Seller.




  2. Purchase Price, Acceptable Funds
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         Paragraph 2.01. The purchase price c·Purchase Price'') to be paid by Purchaser to Seller
 for the Property is Four Million Six: Hundred Thousand($ 4,600,000.00) and 00/I 00 Dollars or
 such other bid by the Purchaser approved by the Bankruptcy Court~ payable as follows:

                  (A) Four Hundred Sixty Thousand($ 460,000.00) and 00/100 Dollars on the
  signing of this Contract. by Purchaser's check payable to the Escrowce (as hereinafter defined),
  subject to collection, the receipt of which is hereby acknowledged. to be held in escrowpursua11t
  to Bidding Procedures as defined in Article 3 hereof (the ··00\\11 Payment"').

                  (B) The balance at Closing (as hereinafter defined) in accordance with Section
  2. 02 hereof (the ··Balance")

           Paragraph 2.02. All monies payable under this Contract, unless otherwise specified
  herein!' shall be paid by (a) certified checks of Purchaser drawn on any federally insured bank~
  savings bank, trust company or savings and loan association having a banking office in the City
  of New York; (b) onicial bank checks drawn by any such hanking institution,_pay_able to the
  order of Seller (or as Seller shall direct) and beating no endorsements; or (c}\\tire transfer of
  immediately available federal funds. Attomey's Escrow Checks of Purchaser payable to the
  order of Seller (or as Seller directs) up to the amount of$1,000.00 in the aggregate shall be
  acceptable for sums other than the Purchase Price payable to Seller at Closing.

  3. Escrow of Down Payment

          Paragraph 3.01. (a) The Dcrwn Payment shall be paid by check or checks drawn to the
  order of and delivered to Abrams Fensterman, LLP ('·Escrowee"). The Escrowee shall hold the
  Down Payment in escrow in a non-interest-bearing IOLA Account until the Closing or sooner
  tcnnination of this Contract and shall pay over or apply the Down Payment in accordance with
  the terms of this section. At the Closing~ the Do\vn Payment shall be paid by Escrowee in
  accordance \\ith Bidding Procedures. If for any reason the Closing does not occur and either
  party makes a written demand upon Escrowee for payment of such amow1t, Escrowee shall give
  written notice to the other party of such demand. If Escrowee docs not receive a written
  objection from the other party to the proposed payment \\ithin 10 busiI1es,s days after the giving
  of such notice~ Escrowee is hereby authorized to make such payment. .If Escrowee does receive-
  such written objection within such I 0-day period or if for any other reason Escrowee in good
  faith shall elect not to make such payment. Escrowee shall continue to hold such amount until
  otherwise directed by written instructions from the parties to this Contract or pursuant to an order
  ofthe Bankruptcy Court. However, Escrowee shall have the right at any time to deposit the
  escrowed proceeds and interest, if any. thereon. with the clerk of the Bankruptcy Court.
  Escrm:vee shall give written notice of such deposit to Seller and Pw-chaser. Upon such deposit
  Escrowee shall be relieved and discharg(;!d of all further ob1igations and responsibilities
  hereunder.

           (b) The parties acknowledge that Escrowcc is acting solely as a stakeholder at their
  request and fbr their convenience~ that Escrowee shall not be deemed to be the agent of either of
  the parties~ and that Escrowee shall not be liable to either of the parties for any act or omission

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 on its pai1 unless taken or suffered in bad faith. in willful disregard of this Contract or involving
 gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
 harmless from and against all costs, claims and expenses, including reasonable attorneys~ fees,
 incun-ed in connection with the performance of Escrowce~s duties hereunder, except with respect
 to actions or omissions taken or suffered by Escrowee in bad faith, in willful disregard of this
 Contractor involving gross negligence on the part of the Escrowee.

          (c) Escrowee or any member of its firm shall be pennitted to act as counsel for the Seller
  in any dispute as to the disbursement of the Down Payment or any other dispute between the,
  parties whether or not Esci-owee is in possession of the Down Payment and continues to act as
  Escrowee.

          (d) Escrowee acknowledges receipt of the Down Payment by certified, bank check
  subject to collection or wire trnnsmission and Escrowee's agreement to these provisions by
  signing in the place indicated on the signature page of this contact.

  4. The Closing

          Parabrraph 4.01. The conveyance of title to the Property by the ScHer to Purchaser, and
  payment of the Balance by Purchaser shall take place on the thi1tieth calendar day after the
  issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
  under its tem1s (the --closing~). The Closing is to be held at the office of the Seller's attorney,
  Abrams, Fenstcrman, LLP 1 MctroTcch Center, Suite 1701, Brooklyn, New York, I 1201,
  Escrowee" TIME OF THE ESSENCE. If the thirtieth (30th ) calendar day shall fall on a Saturday,
  Sunday or legal holiday~ the actual date of closing shall be the next business day following.
          Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
  Purchaser shall have a one-time right to adjourn the closing of up to fifteen (15) calendar days
  from the original date. Purchaser shall exercise the right to adjourn the closing date no less than
  ten (IO) calendar days prior to the date set forth for Closing tmder Pm:agraph 4.01. Upon the
  Purchaser's exercise of the right to extend the Closing Date~ the Purchaser shall increase the
  contract deposit by an additional $460.000.00. Should the Purchaser not elect to extend the
  Closing Date or should the Purchaser fail to pay the additional contract deposit as required
  herein. then in either of those events. the Purchaser shall not be entitled to any extension of the
  Closing Date.

  5. Acknowledgments and Representations of Purchaser

          Purchaser acknowledges and represents that:

          Paragraph 5.01. Purchaser has inspected the Property, made all appropriate inquiries into
  the previous ownership and uses of the Property. is fully familiar with the physical condition and
  state of repair thereot: and shall accept the Property ··as is~~ and in their present condition,
  including, without limitation, the environmental conditions as reflected in the Terms of Sale
  annexed hereto, vvithout any reduction of the Pw·chase Piice for any ch~nge in such condition by
  any reason thereof subsequent to the date of this Contract. The Terms of Sale serforth



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  conditions which Purchaser agrees to accept. including any covenant. easemen~ and/or deed
  restriction. and any other future obligation relating thereto.

          Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
  of the Property, the physical condition and state of repair thereof including the environmental
  conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
  relying solely on its own expertise and investigations and inspections in entering into this
  Contract and has not been induced by and has not relied upon any representations, warranties, or
  statements. whether express or implied, made by Seller or any agent, employee, or other
  representative of Seller or by any other person representing or purporting to represent Seller or
  Proponent, which are not expressly set forth in this Contract, whether or not any such
  representations. warranties or statements were .made in wnting or orally.

          Paragraph 5. 03. ln the event of any default by the Pure has.er in the tenns of this Contract,
  the damages which are due to the Seller, by reason of said default, shall be deemedJiquidated in
  the amount of the Do½n Payment, as Seller's sole remedy, it being agreed that Seller's damages
  in case of such default might be impossible to asce11ain with mathematical precision and that the
  Do\vn Payment constitutes a fair and reasonable amount of damages under the circumstances and
  is not a penalty.

          Paragraph 5.04. Purchaser tepresents that (a) it has the legal power, right and authority to
  enter into this Agreement and to consummate the transactions contemplated hereby and that all
  requisite action has been taken by Purchaser in connection ,:vith the entering into this Contract
  and the consummation of the transactions contemplated hereby; (b) this Contract and al1
  documents required hereby to be cx~cuted by Purchaser are and will be valid~ legally binding
  obligations of and enforceable against Purchaser in accordance with their te1ms (c) Purchaser,
  and all direct or indirect beneficial owners of Purchaser, are in compliance with all applicable
  laws~ statutes, rules and regulations of any federal, state or local governmental authority in the
  United States of America, including the requirements ofExecutive Order No. 13224: 66- Fed.
  Reg. 49079 (Sept 25, 200 I) (the "Order'') and other similar requirements contained in the rnles
  and regulations of the Office of Foreign Asset Control. Department of the Treasury ("OFAC")
  and in any related enabling legislation or other Executive Orders (collectively, the "Orders").·
  Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
  the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
  the Order and/or on any other list of terrorists or terrorist organizations maintained ptrrsuant to
  any of the rules and regulations of OF AC or pursuant to any other applicable Orders (such lists
  are collectively refened to as the ~-Lists··) or is owned or controlled by, or acts for or on behalf
  of. any Person on the Lists or who has been determined by competent authority to be subject to
  the prohibitions contained in the Order~: (ii) has been arrested fi:>r money laundering or for
  predicate crimes to money laundcringi convicted or pled nolo contendere to charges involving
  money laundering or predicate crimes to money latmdering: or (iii) has been determined by
  competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
  controlled by, nor acts for or on behalf of. any natural person or entity (a -~Person'~) on the Lists
  or any other Person who has been determined by competent authority to be subject to the
  prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
   Purchaser or such parties to any Person who is~ or whose beneficial owners are~ listed on the

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  Lists; or (vi) will assign this Agreement or any interest herein:! to ,any Person wbo is listed _on.the
  Lists or who is engaged in illegal activities.

  6. Destruction, Damage or Condemnation

            Paragraph 6.01 . The provisions of Section 5-1311 of the General Obligations Law shall
  not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
  title to the Property regardless of any destruction, damage or condemnation that .occtu·s after the
  execution and delivery of this Contract.

  7. Sellet·'s Closing Obligations

          At the closing, Seller shall execute and/or deliver or cause to be executed and/or
  delivered to Purchaser the following:

         Paragraph 7.01. A bargain and sale deed without covenants againstgrru.itor's acts,
  executed by the Seller .in proper form for recording so as to convey to Purchaser the fee title to
  the Property, subject to recorded encumbrances and the other conditions of this Contract.

          Paragraph 7.02. All required New York City and State transfer tax returns executed by
  the Seller to be issued at the Closing and delivered to the representative of Purchaser~s tide
  company for delivery to the appropriate public oflicers promptly after the Closing.

          Paragraph 7.03. The right to possession of any vacant portions of the Property in
  condition required by this Contract, subject to the provisions hereinabove and to the provisions
  of the Code and the laws of the State of New York govcming the rights to possession upon the
  conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
  Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
  obtaining possession of any part of the Prope1ty, or to remove ,my tenant or occupant therefrom
  after delivery of the Deed.

         Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
  by Seller to consummate this transaction.

  8. Purchaser's Closing Obligations

          At the Closing~ Purchaser shall execute and/or deliver:

          Paragraph 8.01. The Balance to the Seller.

          Paragraph 8.02. All required New York City and State transfor tax returns and cause all
  such returns to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly after the Closing. Purchaser
  will pay all recording fees together with any brokerage commission to the broker herein. Perthe
  Bankruptcy plan no transfer taxes are anticipated to be due on this sale.



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          Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
  required by Seller to be executed and/or delivered by Purchase!'" to consummate this transaction.

  9. Apportionments

         Paragraph 9.0 I. The parties specifically acknowledge that there shall be no
  apportionments made as of the date of Closing. whether for taxes. water or sewer charges,
  emergency repair liens, assessments. renls. fuel, or any other matters relating hereto.

  I 0. Objections to Snle

           Paragraph 10.0 I. This Contract shall automatically tem1inate if the Court rejects the Sale
  or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser-at the
  Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
  the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
  may be able to convey, but \vithout any abatement of or other credit to the Purchase Price or
  liability on the part of Seller; or (ii) to te1minate this Contract. The sole liability of Seller shaU be
  to refund the Down Payment and interest thereon, if any, to the Purchaser and this Contract shall
  be null and void and the parties hereto shall be relieved of all further obligations ancl liability.
  Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
  title defect or to enable Seller otherwise to comply with the pfovisions of this Contract, except as
  may othenvise be provided in this Contract.

           Paragraph 10.02. Purchaser shall take title to the Prope1ty --as is'~ and subject to: any state
  of facts an accurate survey may show; encroachments, covenants, easements, and restrictions of
  record~ if any; violations~ fines, penalties, zoning regu]ations, and ordinances of the City of New
  York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
  and which are incorporated in this Contract by this reference as though fully set forth herein at
  length.

  ll. Notices

          Paragraph 11.01 . All notices under this Contract shall be in \:vriting and shall be delivered
  personally, by nationally recognized overnight courier, addressed to Seller's attomey at the
  address set forth below, and to Purchaser addressed to Purchaser's attomey at the address set
  forth below.

  Seller's Attorney:
  Abrams. Fenstcrman. LLP
  l MetroTech Center. Suite 170 I
  Brooklyn~ New York 1120 I
  Attn: Mark J. Carnso~ Esq.
  m\.:'._aruso tiabram~hm~sni_n




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  Purchaser·s Attorney:




  12. Limitations on Survival of Representations, Warranties, Covenants and other
  Obligations

          Paragraph 12.01. Except as othenvise expressly set fo1ih in this Contract, no
  representations. warranties. covenants or other obligations of Seller and/or Purchaser set forth
  herein shall survive the Closing except as specifically provided to survive, and no action based
  thereon shall be commencedafter the Closing except as to such representations specifically
  provided to survive.

          Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
  Purchaser shall be deemed the full performance and discharge of every obJigation on the part of
  Seller to be performed hereunder. except those obligations. if any. of Seller which are expressly
  stated in this Contract to survive.

  13. Assignment of Contract

          Paragraph 13.01. Purchaser shall have no right to assign this Contract except as
  provided t'i..1r herein. Purchaser may assign its rights under this Contract, but only immediately
  before the Closing and only simultaneously with the payment of the Cash Balance~ to any wholly
  owned subsidiary of Purchaser~ or to any entity in which Purchaser, or its principals, has an
  equity interest of at least fift:y-onc (51 % ) percent and control of management (a '"Controlled
  Entity"'), upon appropriate proof of same delivered to Proponent. Any purported assignment not
  in conformity with the provisions hereof shall be void. Any sale~ transfer or assignment of any
  interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
  conditions as an assignment of this Contract. Nevertheless~ no assignment shall be effective
  unless and until an executed counterpart of the instrument of assignment and assumption
  agreement by the Assignee in strict conformity of the requirements of this Paragraph shall have
  been delivered to Seller.

         Paragraph 13 .02. Seller shall assign pending tax certiorari actions, if any, to Purchaser
  without any representations or warranties~ and without any further obligation of Seller. except to
  execute such documents as may be necessary to effectuate such assignment.

   14. Miscellaneous Provisions

       Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
  ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH
  SUCH IN Tl-US CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
  PROCEDURES OR ORDERS.


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          Paragraph 14.02. Subject to the provisions of Paragraph 14.01, this Contract embodies
  and constitutes the entire understanding between the parties ,vith respect to the transaction
  contemplated hereby. and all prior agreements, understandings~ representations and statements,
  oral or written, are merged into this Contract. Neither this Contract nor any provision hereofmay
  be waived, modified~ amended, discharged. or terminated except by an instrument signed by the
  party against whom the enforcement of such waiver~ modification~ amendment, discharge, or
  termination is sought. and then only to the extent set forth in such instrument.

          Paragraph 14.03. This Contract shall be governed by, and construed in accordance with,
  Lhe Bankruptcy Code and the Orders of the Bankruptcy Com1 and!' where it does not conflict
  with the Bankruptcy Code or any Order of the Bankruptcy Court~ the laws of the State of New
  York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
  concerning the sale of the Ptoperty or any other matters under this Contrac:t.

          Paragraph 14.04. The captions in this Contract are inserted for convenience or reference
  only and in no way define~ describe, or .limit the scope or intent of this Contract or any of the
  provisions hereof.

         Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
  pai1ics hereto and their respective heirs or successors and permitted assigns.

          Paragraph 14.06. This Contract sha.11 not be binding or effective until properly executed
  and delivered by Seller and Purchaser. together with all amounts required to be paid pursuant to
  2.01 (A) hereto. This Contract may be executed in counterparts each of which will constitute an
  original and all of which. \Vhen taken together, will constitute one and the same agreement. A
  signed counterpat1 of this Contract delivered by electronic transmission will be treated as an
  original.

          Paragraph 14.07. As used in this Contract, the masculine shall include the feminine and.
  neuter~ the singular shall include the plural~ and the plural shall include the singular~ as the
  context may require.

         Paragraph 14.08. Su~jcct to Paragraph 14.01, if the provisions of any schedule or rider to
  this Contract are inconsistent with the provisions of this Contract, the provisions of such
  schedule or rider shall prevail.

         Paragraph 14.09. This Contract may be executed in cow1terparts, each of which when
  executed shall be deemed to be an original and all of which together shall constitute a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatirres shall be
  deemed original signatures.


         Paragraph 14.10. Seller and Purchaser represent and warrant to each other that
  Rose,Yood Realty Group (the --Broker~·) is the only Broker with whom the Seller and Purchaser
  have dealt in connection with this Contract. Any brokerage commission due Broker shall be paid
  by Purchaser at closing. Purchaser shall indemni(y and defend Seller against any out-of-pocket

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  ADDENDUM DATED AS OF FEBRUARY      , 2022 TO THE ANNEXED CONTRACT
                       OF SALE (the "Contract")


 SELLER:                           1125-1133 GREENE AVE LLC


 PURCHASER:                        MAGUIRE BKLN LLC


 PREMISES:                         1125-1133 GREENE AVE., BROOKLYN, NEW YORK 11221

        Amending and modifying the annexed Contract, the parties agrees as follows:


    1. That the effective date of the Contract shall be February 28, 2022;
    2. That the purchase price be amended and modified to $4,690,442.38 which includes the
        Purchaser's obligation for the break-up fee of $90,442.38;
    3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14.10
        the sum of $230,000.00 as and for Purchaser's obligation towards the broker commission;
    4. Purchaser's attorney for the closing is: _l,J_i..;...;\\_o...;;.alC.J,v_:_Je..__,_._ _ _ _ _ __




    5. This Addendum may be executed in counterparts, each of which when executed shall be
        deemed to be an original and all of which together shall constitute a single instrument
        binding upon the parties and the use of .pdf electronic signatures shall be deemed original
        signatures.
    6. This Addendum shall be deemed part of the Contract. All of the tenns and conditions set
        forth in the Contract remain in full force and effect, except to the extent hereby specifically
        modified or amended by the Addendum.
                                                               1125-1133 GREENE AVE LLC C-·Seller")


                                                              By _~- - - -- -- - - -
                                                                rune; --:;;;------..--~""'""°'"'"1!11."1'"',.,.,.....,.....- -
                                                                ~t]e: - ~- - - -,. .:;:;:,. . .-.......;;..._

                                                               MAGUIRE BKLN LLC C,;Purchas.er")

                                                               By:~
                                                               Name: A<\J~"-                  Aztfl..."'-
                                                               Title:      ~r-,~ s,~N.,.,\-~
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 CONTRACT dated as of the _ _ day of January, 2022 (this ~-contract") , 1213 Jefferson LLC
 (the ~~seller" or ·'Debtor") having an address at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and
 Maguire BKLN LLC. having an address at


         Seller and .Purchaser hereby covenant and agree as follows:

  1. Sale of Property

          Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
  purchase. at the price and upon the terms and conditions set forth in this Contract: the real
  properties located at


                                                        1213 Jefferson LLC

   (collectively, the ~'Property"). The sale of the Property includes (a) all ofits appurtenances,
  including any estate, right, title, interest, property, claim and demand of Se.lier in and to all
  streets. alleys. rights-of-way. sidewalks. easements, m1y adjoining gores or strips ofland and
  utility lines or agreements. including~ without limitation, all development rights and '~air rights"
  of Sellers as of the date hereof: ( b) all improvements, buildings and structures located on or at
  the Property and the facilities located thereon, and any apparatus, equipment~ appliances and
  fixtures incorporated therein and used exclusively in connection \\'ith the operation and
  occupancy thereot (c) al J plans, specifications. budgets, schedules, surveys, drawings, reports
  and governmental applications. permits. approvals and licenses issued by any federal, state or
  local governmental authority or agency pc1taining to the ownership, operation, maintenance,
  development. construction or use of the Property (collectively. the ~-Plans and Permits"); and (d)
  all of its rights and licenses in and to use the Plans and Permits.

          Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to-an
  Order of the United States Bankruptcy Court for the Southern District of New York (hereinafter;
  the ·'Bankruptcy Coutt'') in Case No. 19-23013, entitled '~Bidding and Auction Procedures"
  (hereinafter the '•Bidding Procedures") which was approved by the Bankruptcy Court on June 11,
  2021 and is deemed annexed to this Contract.

          Paragraph 1.03. Purchaser acknowledges that this sale is subject to and governed by (I)
  the Orders of the Bankruptcy Court, (2) the provisions of the United States Bankruptcy Code
  (hereinafter the ··Code"), (3) the laws of the State of New York, to the extent they do not conflict.
  with (I) and (2), above, and (4) the Bidding and Auction Procedures app.roved pursuant to the
  motion of the Seller.
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 2. Purchase Price, Acceptable Funds

         Paragraph 2.01. The purchase price ("Purchase Pricf') to be paid by Purchaser to Seller
 for the Prope1ty is Nine Hundred Seventy Five Thousand($ 975,000.00)-and 0~/100 Dollars or
 such other bid by the Purchaser approved by the Bankruptcy Court, payable as follows:

                 (A) Nine H_undrcd Seventy-Five Thousand($ 97.500.00) and 00/100 Dollars on
 the signing of this Contract, by Purchaser's check payable to the Escrowee (as hereinafter
 defined)~ subject to collection. the receipt of which is hereby acknowledged, to be held in escrow
 pursuant to Bidding Procedures as defined in Article 3 hereof (the ··Down Payment").

                (B) The balance at Closing (as hereinafter defined) in accordance ·with Section
 2.02 hereof (the ~'Balance")

          Paragraph 2.02. All monies payable under this Contract, unless otherwise specified
  herein~ shall be paid by (a) certified checks of Purchaser drawn on any federally insured bank,
  savings bank, trust company or savings and loan association having a banking office in the City
  ofNew York; (b) official baok checks drawn by any such banking institution, payable to the
  order of Seller (or as Seller shall direct) and bearing no-endorsements; or (c) wire transfer of"
  immediately available federal funds. Attorney's Escrow Checks of Purchaser payable to the
  order ofSeUer (or as Seller directs) up to the amount of $1,000.00 in the aggregate shall be
  acceptable for sums other than the Purchase Price payable to Seller at Closing.

  3. Escrow of Down Payment

          Paragraph 3.01. (a) The DownPayment shall be paid by check or checks drawn to the
  order of and delivered to Abrams Fensterman. LLP ('"Escrowee~'). The Escrowee shall hold the
  Down Payment in escrow in a non-interest-hearing IOLA Account until the Closing or sooner
  termination of this Contract and shall pay over or apply the Down Payment in accordance \.\ith
  the terms of this section. At the Closing. the Down Payment shall be paid by Escrowee in
  accordance with Bidding Procedures. If for any reason the Closing does not occur and either
  party makes a written demand upon Escrowce for payment of such amount, Escrowee shall give
  ·written notice to the other pai1y of such demand. lfEscrowee doe_s not receive a written
  objection from the other party to the proposed.payment within 10 business days after the giving
  of such notice, Escrowee is hereby authorized to make such payment. If Escrowee. does receive
  such written objection within such 1O~day period or if fbr any other reason Escrowee in good
  faith shall elect not to make such payment. Escrowee shall continue to hold such amount until
  otherwise directed by ,.vrittcn instructions from the parties to this Contract or pursuant to an order
  of the Bankruptcy Court. However. Escrowee shall have the right at any time to deposit the
  escrowed proceeds and interest. if any~ thereon, with the clerk of the Bankruptcy Court.
  Escrowce shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
  Escrowee shall be relieved and discharged of all fmther obligations and responsibilities
  hereunder.

          (b) The parties acknowledge that Escrov..1ee is acting solely as a stakeholder at their
  request and for their convenience. that Escrowee shall not be deemed to be the agent of either of

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 the parties, and that Escrowee shall not be liable to either of the parties for any act or omission
 on its part unless taken or suffered in bad faith. in willful disregard of this Contract or involving
 gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
 harmless from and against an costs. claims and expenses, including reasonable attorneys' foes~
 incurred in connection with the performance of Escrowce·s duties hereunder, except with respect
 to actions or omissions taken or suffered by Escrowec in bad faith, in willful disregard of this
 Contractor involving gross negligence on 1he part of the Escrowce.

          (c) Escrowee or any member of its firm shall be pem1itted to act as counsel for the Seller
  in any dispute as to the disbursement of the Down Payment or any other dispute bet\veen the
  patties whether or not Escrowcc is in possession of the Down Payment and continues to act as
  Escrowee.

          (d) Escrowee acknowledges receipt of the Down Payment by certified~bank check
  subject to collection or wire transmission and Escrowee's agreemennothese provisions by
  signing in the place indicated on the signature page of this contact.

  4. The Closing

          Paragraph 4.0 l. The conveyance of title to the Property by the Seller to Purchaser, and
  payment of the Balance by Purchaser shall take place on the thirtieth calendar day after the
  issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
  under its te1ms (the ;.Closing··). The Closing is to be held at the oflice of the Seller's attorney,
  Abrams~ Fensterman, LLP I MetroTech Center. Suite 1701, Brooklyn, New York, 11201,
  Escro\vec,. TIME OF THE ESSENCE. If the thirtieth (30 th ) calendar day shall fall on a Saturday,
  Sunday or legal holiday~ the actual date of closing shall be the next business day fol1owing.
          Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
  Purchaser shall have a one-time right to adjourn the closing of up to fifteen ( 15) calendar days
  from the original date. Purchaser shall exercise the right to adjourn the closing elate no less than
  ten (10) calendar days prior to the date set forth for Closing under Paragraph 4.0 I. Upon the
  Purchaser's exercise of the right to extend the Closing Date, the Purchaser shall increase the
  contract deposit by an additional $97 .500.00. Should the Purchaser not e]ect to extend the
  Closing Date or should the Purchaser fail to pay the additional contract deposit as required
  herein. then in either of those events~ the Purchaser shall not be entitled to any extension of the
  Closing Date.

  5. Acknowledgments and Re1>resentations of Purchaser

          Purchaser ackno\vlcdgcs and represents that:

          Paragraph 5.01. Purchaser has inspected the Property. made all appropriate inquiries into
  the previous ownership and uses of the Property~ is fully familianvith the physical condition and
  state of repair thereof: and shall accept the Property ··as is'~ and in their present condition.
  including~ without limitation~ the environmental conditions as reflected in the Terms of Sale
  annexed hereto, "Without any reduction of the Purchase Price for any change in such condition by
  any reason thereof subsequent to the date of this Contract. The Terms of Sale set forth

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 conditions which Purchaser agrees to accept~ including any covenant. easement, and/or deed
 restriction. and any other future obligation relating thereto.

         Paragraph 5.02. Before entering into this Contract. Purchaser has made such examination
 of the Property, the physical condition and state ofrepair thereofincluding the environmental
 conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
 relying solely on its own expertise and investigations and inspections in entering into this
 Contract and has not been induced by and has not relied upon any representations, warranties, or
 statements, whether express or implied. made by Seller or any agent. employee, or other
 representative of Seller or by any other person representing or purporting to represent Seller o.i•
 Proponent. which m·c not expressly set forth in this Contract, whether or not any such
 representations~ warranties or statements were made in \iVriting or orally.

         Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
 the damages which are due to the Seller~ by reason of said default, shall be deemed liquidated in
 the amount of the Down Payment, as Seller's sole remedy. it being agreed that Sellef s damag~s
 in case of such default niight be impossible to ascertain with mathematical precision and that the
 Down Payment constitutes a fair and reasonable amount of damages under the circumstances and
 is not a penalty.

          Paragraph 5.04. Purchaser represents that (a) it has the legal power, right and authority to
  enter into this Agreement and to consummate the transactions contemplated hereby and that all
  requisite action has been taken by Purchaser in connection with the entering into this Contract
  and the consummation of the transactions contemplated hereby: (b) this Contract and all
  documents required hereby to be executed by Purchaser are and will be valid, legally binding
  obligations of and enforceable against Purchaser in accordance with their terms (c) Purchaser,
  and all direct or indirect beneficial owners of Purchaser, are in compliance with all applicable.
  laws, statutes. rules and regulations of any federaL state or local governmental authority in the
  United States of America. including the requirements of Executive Order No. 13224~ 66 Fed.
  Reg. 49079 (Sept. 25, 200 l) (the ··Order·') and other similar requirements contained in the rules
  and regulations of the Office of Foreign Asset Control, Department of the Treasury C'OFAC")
  and in any related enabling legislation or other Executive Orders (collectively, the ··Orders"').
  Neither Purchaser nor any of the direct or indirect beneficial owners of Purehas et (i) is list~d on
  the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuantto
  the Order and/or on any other list of te1Torists or ten-orist organizations maintained pursuant to
  any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
  are collectively referred to as the ·•Lists"') or is owned or controlled by, or acts for or on behalf
  ot: any Person on U1c Lists or ,ivho has been determined by competent authority to be subject to
  the prohibitions contained in the Orders: (ii) has been arrested for money laundering or for
  predicate crimes to money laundering. convicted or pied nolo contcndere to charges involving
  money laund~ring or predicate crimes to money laundering; or (iii) has been detennined by
  competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
  controlled by, nor acts for or on behalf o[ any natural person or entity (a "Persotf') on the Lists
  or any other Person who has been determined hy competent authority to be subject to the
  prohibitions contained in the Orders: (v) will transfor or pcnnit the transfer of any interest in
  Purchaser or such parties to any Person who is, or whose beneficial owners are, listed on the


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 Lists; or (vi) ·will assign this Agreement or any interest herein~ to any Person who· is listed on the
 Lists or who is engaged in illegal activities.

 6. Destruction, Damage or Condemnation

        Paragraph 6.01. The provisions of Section 5-1311 of the General Obligations Law shall
 not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
 title to the Property regardless of any destruction, damage or condemnation that occurs after the
 execution and delivery of this Contract.

 7. Seller's Closing Obligations

         At the closing, Seller shall execute and/or deliver or cause to be executed and/or
 delivered to Purchaser the following:

        Paragraph 7.01. A bargain and sale deed without covenants against grantor~s acts,
 executed by the Seller in proper form for recording so as to convey to Purchaser the.fee title to
 the Property, subject to recorded encumbrances and the other conditions of this Contract.

          Paragraph 7.02. All required New York City and State transfer tax returns executed by
  the Seller to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly after the Closing.

          Paragraph 7.03. The .right to possession of any vacant portions of the Property in
  condition required by this Contract, subject to the provisions hereinabove and to the provisions
  of the Code and the Ia,vs of the State of New· York governing the rights to possession upon the
  conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
  Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
  obtaining possession of any part of the Property, or to remove any tenant or occupant therefrom
  after delivery of the Deed.

         Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
  by Seller to consummate this transaction.

  8. Purchaser's.Closing Obligations

         At the Closing~ Purchaser shall execute and/or deliver:

         Paragraph 8.01. The Balance to the Seller.

            Paragraph 8.02. AU required New York City and State transfer tax returns and cause all
  such returns to be issued at the Closing and delivered to the representative of Purchaser~s title
  company for delivery to the appropriate public officers promptly after the Closing. Purchaser
  ,,,ilJ pay a11 recording fees together with any brokerage commission to the broker herein. Per the
  Bankruptcy plan no transfer taxes are anticipated to be due on this sale.



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          Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
  required by Seller to be executed and/or delivered by Purchaser to consummate this transaction.

 9. Apportionments

         Paragraph 9.01. The parties specifically acknowledge that there shall be no
  appottionments made as of the date of Closing, whether for taxes, water or sewer charges,
  emergency repair liens. assessments, rents~ fuel, or any other matters relating hereto.

  10. Objections to Sale

           Paragraph 10.01. This Contract shall automatically terminate.if the Com1 rejects the Sale
  or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
  Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
  the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
  may be able to convey. but without any abatement of or other credit to the Purchase Price or
  liability on the part of Seller; or (ii) to tenninate this Contract. The sole liability of Seller shall be
  to refund the Down Payment and interest thereon, if any~ to the Purchaser and this Contract shall
  be null and void and the parties hereto shall be relieved of all fmther obligations and liability.
  Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
  title defect or to enable Seller otherwise to comply with the provisions of this Contract, except as
  may otherwise be provided in this Contract.

          Paragraph l 0.02. Purchaser shall take title to the Property .. as is'~ and subject to: any state
  of facts an accurate survey may sho\v; encroachments. covenants, easements~ and restrictions of
  record. if any; violations~ fines. penalties. zoning regulations. and ordinances of the City of New
  York. Purchaser is a,~1are of and agrees to the Terms of Sale which are attached to this Contract
  and which are incorporated in this Contract by this reference as though fully set forth herein at
  length.

  11. Notices

          Paragraph I 1.0 l . All notices under this Contract shall be in writing and shall be delivered
  personally, by nationally recognized overnight courier. addressed to Seller's attorney at the
  address set fo11h below, and to Purchaser addressed to Purchascr"s attorney at the address set
  forth below.

  Seller's Attorney:
  Abrams. Fensterman, LLP
  1 MetroTech Center, Suite 1701
  Brooklyn. New York 11201
  Attn: Mark J. Caruso~ Esq.
  mcarusoa.abramsia\\.tom




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 Purchaser's Attorney:




 12. Limitations on Survival of Representations, Warranties, Covenants and other
 Obligations

          Paragraph 12.01. Except a:s otherwise expressly set forth in this Contract, no
  representations, warranties~ covenants or other obligations of Seller and/or Purchaser set forth
  herein shall survive the Closing except as specifically provided to survive, and no action based
  thereon shall be commenced after the Closing except as to such representations specifically
  provided to survive.

          Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
  Purchaser shall be deemed the full performance and discharge of every obligation on the part of
  Seller to be performed hereunder. except those obligations. if any. of Seller which are expressly
  stated in this Contract to survive.

  13. Assignment of Contract

          Paragraph 13 .0 l . Purchaser shall have no right to assign this Contract except as
  provided for herein. Purchaser may assign its rights under this Contract. but only immediately
  before the Clm,ing and only simultaneously with the payment of the Cash Balance, to any wholly
  owned subsidiary of Purchaser, or to any entity in which Purchaser, or its principals, has an
  equity interest of at least fitly-one (51 %) percent and control of management (a ··Controlled
  Entitf'), upon appropriate proof of same delivered to Proponent. Any purported assignment not
  in conformity with the provisions hereof shall be void. Any sale, transfer or assignment of atty
  interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
  conditions as an assignment ()fthis Contract. Nevertheless~ no assignment shall be effective
  unless and until an executed counterpat1 of the instrument of assignment and assumption
  agreement by the Assigne~ in strict conformity of the requirements of this Paragraph shall have
  been delivered to Seller.

         Paragraph 13.02. Seller shall assign pending tax certiorari actions. if any, to Purchaser
  without any representations or warranties. and without any further obligation of Seller, except to
  execute such documents as may be necessary to effectuate such assignment.

  14. Miscellaneous Provisions

       Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
  ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH
  SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
  PROCEDURES OR ORDERS.

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         Paragraph 14.02. Su~ject to the provisions of Paragraph 14.01, this Contract embodies
 and constitutes the entire understanding between the parties with respect to the transaction
 contemplated hereby. and all prior agreements. understandings, representations and statements,
 oral or written, are merged into this Contract. Neither this Contract nor any provision hereof may
 be waived, modified. amended~ discharged. or terminated except by an instrument signed by the
 pa11y against whom the enforcement of such waiver, modification, amendment, discharge, or
 termination is sought, and then only to the extent set forth in such instrument.

          Paragraph 14.03. This Contract shall be governed by. and construed in accordance with,
  the Bankruptcy Code and the Orders of the Bankruptcy Court and~ where it does not conflict.
  with the Bankruptcy Code or any Order of the Bankruptcy Comt. the laws of the State of New
  York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
  concerning the sale of the Property or any other matters under this Contract.

          Paragraph 14.04. The captions in this Contract are inse11cd for convenience or reference
  only and in no way define, describe. or limit the scope or intent of this Contract or any of the
  provisions hereof.

          Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
  parties hereto and their respective heirs or successors and permitted assigns.

          Paragraph 14.06. This Contract shall not be bindjng or effective until properly executed
  and delivered by Seller and Purchaser, together with all amounts required to be paid pursuant to
  2.01 (A) hereto. This Contract may be executed in counterparts each of which will constitute an
  original and all of which~ when taken together, will constitute one and the same agreement. A
  signed counterpart of this Contract delivered by electronic transmission will be treated as an
  original.

          Paragraph 14.07. As used in this Contract~ the masculine shall include the feminine and
  neuter, the singular shall include the plural, and the plural shall include the singular, as the
  context may require.

         Paragraph 14.08. Subject to Paragraph 14.01, if the provisions of any schedule or rider to
  this Contract arc inconsistent with the provisions of this Contract, the provisions of such
  schedule or rider shall prevail.

         Paragraph 14.09. This Contract may be executed in counterpm1s, each of which when
  executed shall be deemed to be an original and all of which together shall constitute a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures shall be
  deemed original signatures.

         Paragraph 14. l 0. Seller an<l Purdmser represent and warrant to each other that
  Rosewood Realty Group (the ··Broker'~) is the only Broker with whom the Seller and Purchaser
  have dealt in connection with this Contract. Any brokerage commission due Broker shall be paid
  by Purchaser at closing. Purchaser shall indemnify and defend Seller against any out-of-pocket

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 costs, claims or expenses including attorney's fees. adsing out of breach .ofthi$ i:eprese11ta,tfon,
 warranty otany agree1nent contained within this paragraph. this paragraph shall :survive tlJe
 closing or itthe closing does not occur, th~ teq:pip~tion o.f the Cqntnict.




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         IN WlTNb""'SS WHEREOF, the parties hereto have executed this Contt-act as ofth~ date
 first above written.




 1213 Jefferson LLC eseller')


 By _ _ _ _ _ _ _ _ _ _ __
 Name: _David
          ___     _ _ _ _ __
                Goldwasser
 Title: _ _
          Authorized_Signatory
            _ _  _    _ _ __




 Maguire BK.LN LLC C"Purchasef·)


 ~~ne:
 Title:
                 lfs:----

  Escrowce:

  Abrams Fensterman, LLP




  By _ _ _ _ _ _ _ __
  Name:
  Title:




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  ADDENDUM DATED AS OF FEBRUARY_, 2022 TO THE ANNEXED CONTRACT
                       OF SALE (the "Contract")


 SELLER:                                1213 JEFFERSON LLC


 PURCHASER:                             MAGUIRE BKLN LLC


 PREMISES:                              1213 JEFFERSON AVENUE, BROOKLYN, NEW YORK 11221

        Amending and modifying the annexed Contract, the parties agrees as follows:


    1. That the effective date of the Contract shall be February 28, 2022;
    2. That the purchase price be amended and modified to $994,169.85 which includes the
         Purchaser's obligation for the break-up fee of $19,169.85;
    3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14.10
         the sum of$48,750.00 as and for Purchaser's obligation towards the broker commission;
    4. Pw·chaser's attorney for the closing is: -'-~-·_,\_\___,;;;r4..;z.;...,;\);._•>.;;..·..:,a:t.;.;...._ _ _ _ _ __




    5. This Addendum may be executed in counterparts, each of which when executed shall be
         deemed to be an original and all of which together shall constitute a single instrument
         binding upon the parties and the use of .pdf electronic signatures shall be deemed original
         signatures.
    6. This Addendum shall be deemed part of the Contract. All of the terms and conditions set
         forth in the Contract remain in full force and effect, except to the extent hereby specifically
         modified or amended by the Addendum.
                                                                                  1213 JEFFERSON LLC (''Seller'')




                                                                                  By:_+--H-.~:;...._--bl------
                                                                                  Name: ~~·~7v-, A-th..'/..
                                                                                  Title:    A\A.~t-i-tt~          ~~'¼'"'"\
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CONTRACT dated as of the ____ day of January, 2022 (this “Contract”) , between APC
HOLDING 1 LLC (the “Seller” or “Debtor”) having an address at 116 Nostrand Ave., Brooklyn
NY 11205 and CHAVA OBERLANDER, having an address at 253 Rutledge Street, Brooklyn,
New York 11211 (the “Purchaser”).

       Seller and Purchaser hereby covenant and agree as follows:

1. Sale of Property

       Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
purchase, at the price and upon the terms and conditions set forth in this Contract: the real
properties located at

                       Address                                            Entity

 568 Willoughby Ave, Brooklyn NY 11206                     APC HOLDING 1 LLC

 (collectively, the “Property”). The sale of the Property includes (a) all of its appurtenances,
including any estate, right, title, interest, property, claim and demand of Seller in and to all
streets, alleys, rights-of-way, sidewalks, easements, any adjoining gores or strips of land and
utility lines or agreements, including, without limitation, all development rights and “air rights”
of Sellers as of the date hereof; (b) all improvements, buildings and structures located on or at
the Property and the facilities located thereon, and any apparatus, equipment, appliances and
fixtures incorporated therein and used exclusively in connection with the operation and
occupancy thereof; (c) all plans, specifications, budgets, schedules, surveys, drawings, reports
and governmental applications, permits, approvals and licenses issued by any federal, state or
local governmental authority or agency pertaining to the ownership, operation, maintenance,
development, construction or use of the Property (collectively, the “Plans and Permits”); and (d)
all of its rights and licenses in and to use the Plans and Permits.

       Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to an
Order of the United States Bankruptcy Court for the Southern District of New York (hereinafter
the “Bankruptcy Court”) in Case No. 19-23013, entitled “Bidding and Auction Procedures”
(hereinafter the “Bidding Procedures”) which was approved by the Bankruptcy Court on June 11,
2021 and is deemed annexed to this Contract.

       Paragraph 1.03. Purchaser acknowledges that this sale is subject to and governed by (1)
the Orders of the Bankruptcy Court, (2) the provisions of the United States Bankruptcy Code
(hereinafter the “Code”), (3) the laws of the State of New York, to the extent they do not conflict
with (1) and (2), above, and (4) the Bidding and Auction Procedures approved pursuant to the
motion of the Seller.
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2. Purchase Price, Acceptable Funds

        Paragraph 2.01. The purchase price (“Purchase Price”) to be paid by Purchaser to Seller
for the Property is One Million Eight Hundred Thousand ($ 1,800,000.00) and 00/100 Dollars or
such other bid by the Purchaser approved by the Bankruptcy Court, payable as follows:

                (A) One Hundred Eighty Thousand ($180,000.00) and 00/100 Dollars on the
signing of this Contract, by Purchaser’s check payable to the Escrowee (as hereinafter defined),
subject to collection, the receipt of which is hereby acknowledged, to be held in escrow pursuant
to Bidding Procedures as defined in Article 3 hereof (the “Down Payment”).

               (B) The balance at Closing (as hereinafter defined) in accordance with Section
2.02 hereof (the “Balance”)

        Paragraph 2.02. All monies payable under this Contract, unless otherwise specified
herein, shall be paid by (a) certified checks of Purchaser drawn on any federally insured bank,
savings bank, trust company or savings and loan association having a banking office in the City
of New York; (b) official bank checks drawn by any such banking institution, payable to the
order of Seller (or as Seller shall direct) and bearing no endorsements; or (c) wire transfer of
immediately available federal funds. Attorney’s Escrow Checks of Purchaser payable to the
order of Seller (or as Seller directs) up to the amount of $1,000.00 in the aggregate shall be
acceptable for sums other than the Purchase Price payable to Seller at Closing.

3. Escrow of Down Payment

        Paragraph 3.01. (a) The Down Payment shall be paid by check or checks drawn to the
order of and delivered to Abrams Fensterman, LLP (“Escrowee”). The Escrowee shall hold the
Down Payment in escrow in a non-interest-bearing IOLA Account until the Closing or sooner
termination of this Contract and shall pay over or apply the Down Payment in accordance with
the terms of this section. At the Closing, the Down Payment shall be paid by Escrowee in
accordance with Bidding Procedures. If for any reason the Closing does not occur and either
party makes a written demand upon Escrowee for payment of such amount, Escrowee shall give
written notice to the other party of such demand. If Escrowee does not receive a written
objection from the other party to the proposed payment within 10 business days after the giving
of such notice, Escrowee is hereby authorized to make such payment. If Escrowee does receive
such written objection within such 10-day period or if for any other reason Escrowee in good
faith shall elect not to make such payment, Escrowee shall continue to hold such amount until
otherwise directed by written instructions from the parties to this Contract or pursuant to an order
of the Bankruptcy Court. However, Escrowee shall have the right at any time to deposit the
escrowed proceeds and interest, if any, thereon, with the clerk of the Bankruptcy Court.
Escrowee shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
Escrowee shall be relieved and discharged of all further obligations and responsibilities
hereunder.

       (b) The parties acknowledge that Escrowee is acting solely as a stakeholder at their
request and for their convenience, that Escrowee shall not be deemed to be the agent of either of

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the parties, and that Escrowee shall not be liable to either of the parties for any act or omission
on its part unless taken or suffered in bad faith, in willful disregard of this Contract or involving
gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
harmless from and against all costs, claims and expenses, including reasonable attorneys’ fees,
incurred in connection with the performance of Escrowee’s duties hereunder, except with respect
to actions or omissions taken or suffered by Escrowee in bad faith, in willful disregard of this
Contractor involving gross negligence on the part of the Escrowee.

        (c) Escrowee or any member of its firm shall be permitted to act as counsel for the Seller
in any dispute as to the disbursement of the Down Payment or any other dispute between the
parties whether or not Escrowee is in possession of the Down Payment and continues to act as
Escrowee.

        (d) Escrowee acknowledges receipt of the Down Payment by certified, bank check
subject to collection or wire transmission and Escrowee’s agreement to these provisions by
signing in the place indicated on the signature page of this contact.

4. The Closing

        Paragraph 4.01. The conveyance of title to the Property by the Seller to Purchaser, and
payment of the Balance by Purchaser shall take place on the thirtieth calendar day after the
issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
under its terms (the “Closing”). The Closing is to be held at the office of the Seller’s attorney,
Abrams, Fensterman, LLP 1 MetroTech Center, Suite 1701, Brooklyn, New York, 11201,
Escrowee,, TIME OF THE ESSENCE. If the thirtieth (30th) calendar day shall fall on a Saturday,
Sunday or legal holiday, the actual date of closing shall be the next business day following.
        Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
Purchaser shall have a one-time right to adjourn the closing of up to fifteen (15) calendar days
from the original date. Purchaser shall exercise the right to adjourn the closing date no less than
ten (10) calendar days prior to the date set forth for Closing under Paragraph 4.01. Upon the
Purchaser’s exercise of the right to extend the Closing Date, the Purchaser shall increase the
contract deposit by an additional $ 180,000.00. Should the Purchaser not elect to extend the
Closing Date or should the Purchaser fail to pay the additional contract deposit as required
herein, then in either of those events, the Purchaser shall not be entitled to any extension of the
Closing Date.

5. Acknowledgments and Representations of Purchaser

       Purchaser acknowledges and represents that:

        Paragraph 5.01. Purchaser has inspected the Property, made all appropriate inquiries into
the previous ownership and uses of the Property, is fully familiar with the physical condition and
state of repair thereof, and shall accept the Property “as is” and in their present condition,
including, without limitation, the environmental conditions as reflected in the Terms of Sale
annexed hereto, without any reduction of the Purchase Price for any change in such condition by
any reason thereof subsequent to the date of this Contract. The Terms of Sale set forth

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conditions which Purchaser agrees to accept, including any covenant, easement, and/or deed
restriction, and any other future obligation relating thereto.

        Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
of the Property, the physical condition and state of repair thereof including the environmental
conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
relying solely on its own expertise and investigations and inspections in entering into this
Contract and has not been induced by and has not relied upon any representations, warranties, or
statements, whether express or implied, made by Seller or any agent, employee, or other
representative of Seller or by any other person representing or purporting to represent Seller or
Proponent, which are not expressly set forth in this Contract, whether or not any such
representations, warranties or statements were made in writing or orally.

        Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
the damages which are due to the Seller, by reason of said default, shall be deemed liquidated in
the amount of the Down Payment, as Seller’s sole remedy, it being agreed that Seller’s damages
in case of such default might be impossible to ascertain with mathematical precision and that the
Down Payment constitutes a fair and reasonable amount of damages under the circumstances and
is not a penalty.

        Paragraph 5.04. Purchaser represents that (a) it has the legal power, right and authority to
enter into this Agreement and to consummate the transactions contemplated hereby and that all
requisite action has been taken by Purchaser in connection with the entering into this Contract
and the consummation of the transactions contemplated hereby; (b) this Contract and all
documents required hereby to be executed by Purchaser are and will be valid, legally binding
obligations of and enforceable against Purchaser in accordance with their terms (c) Purchaser,
and all direct or indirect beneficial owners of Purchaser, are in compliance with all applicable
laws, statutes, rules and regulations of any federal, state or local governmental authority in the
United States of America, including the requirements of Executive Order No. 13224, 66 Fed.
Reg. 49079 (Sept. 25, 2001) (the “Order”) and other similar requirements contained in the rules
and regulations of the Office of Foreign Asset Control, Department of the Treasury (“OFAC”)
and in any related enabling legislation or other Executive Orders (collectively, the “Orders”).
Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
the Order and/or on any other list of terrorists or terrorist organizations maintained pursuant to
any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
are collectively referred to as the “Lists”) or is owned or controlled by, or acts for or on behalf
of, any Person on the Lists or who has been determined by competent authority to be subject to
the prohibitions contained in the Orders; (ii) has been arrested for money laundering or for
predicate crimes to money laundering, convicted or pled nolo contendere to charges involving
money laundering or predicate crimes to money laundering; or (iii) has been determined by
competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
controlled by, nor acts for or on behalf of, any natural person or entity (a “Person”) on the Lists
or any other Person who has been determined by competent authority to be subject to the
prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
Purchaser or such parties to any Person who is, or whose beneficial owners are, listed on the

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Lists; or (vi) will assign this Agreement or any interest herein, to any Person who is listed on the
Lists or who is engaged in illegal activities.

6. Destruction, Damage or Condemnation

          Paragraph 6.01. The provisions of Section 5-1311 of the General Obligations Law shall
not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
title to the Property regardless of any destruction, damage or condemnation that occurs after the
execution and delivery of this Contract.

7. Seller’s Closing Obligations

        At the closing, Seller shall execute and/or deliver or cause to be executed and/or
delivered to Purchaser the following:

       Paragraph 7.01. A bargain and sale deed without covenants against grantor’s acts,
executed by the Seller in proper form for recording so as to convey to Purchaser the fee title to
the Property, subject to recorded encumbrances and the other conditions of this Contract.

        Paragraph 7.02. All required New York City and State transfer tax returns executed by
the Seller to be issued at the Closing and delivered to the representative of Purchaser’s title
company for delivery to the appropriate public officers promptly after the Closing.

        Paragraph 7.03. The right to possession of any vacant portions of the Property in
condition required by this Contract, subject to the provisions hereinabove and to the provisions
of the Code and the laws of the State of New York governing the rights to possession upon the
conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
obtaining possession of any part of the Property, or to remove any tenant or occupant therefrom
after delivery of the Deed.

       Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
by Seller to consummate this transaction.

8. Purchaser’s Closing Obligations

       At the Closing, Purchaser shall execute and/or deliver:

       Paragraph 8.01. The Balance to the Seller.

        Paragraph 8.02. All required New York City and State transfer tax returns and cause all
such returns to be issued at the Closing and delivered to the representative of Purchaser’s title
company for delivery to the appropriate public officers promptly after the Closing. Purchaser
will pay all recording fees together with any brokerage commission to the broker herein. Per the
Bankruptcy plan no transfer taxes are anticipated to be due on this sale.



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       Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
required by Seller to be executed and/or delivered by Purchaser to consummate this transaction.

9. Apportionments

       Paragraph 9.01. The parties specifically acknowledge that there shall be no
apportionments made as of the date of Closing, whether for taxes, water or sewer charges,
emergency repair liens, assessments, rents, fuel, or any other matters relating hereto.

10. Objections to Sale

         Paragraph 10.01. This Contract shall automatically terminate if the Court rejects the Sale
or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
may be able to convey, but without any abatement of or other credit to the Purchase Price or
liability on the part of Seller; or (ii) to terminate this Contract. The sole liability of Seller shall be
to refund the Down Payment and interest thereon, if any, to the Purchaser and this Contract shall
be null and void and the parties hereto shall be relieved of all further obligations and liability.
Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
title defect or to enable Seller otherwise to comply with the provisions of this Contract, except as
may otherwise be provided in this Contract.

        Paragraph 10.02. Purchaser shall take title to the Property “as is” and subject to: any state
of facts an accurate survey may show; encroachments, covenants, easements, and restrictions of
record, if any; violations, fines, penalties, zoning regulations, and ordinances of the City of New
York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
and which are incorporated in this Contract by this reference as though fully set forth herein at
length.

11. Notices

        Paragraph 11.01. All notices under this Contract shall be in writing and shall be delivered
personally, by nationally recognized overnight courier, addressed to Seller’s attorney at the
address set forth below, and to Purchaser addressed to Purchaser’s attorney at the address set
forth below.

Seller’s Attorney:
Abrams, Fensterman, LLP
1 MetroTech Center, Suite 1701
Brooklyn, New York 11201
Attn: Mark J. Caruso, Esq.
mcaruso@abramslaw.com




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Purchaser’s Attorney:
Dan Weinberger, Esq.
268 Willoughby Avenue
Brooklyn, NY 11205
Dan@BHLLPLAW.com

12. Limitations on Survival of Representations, Warranties, Covenants and other
Obligations

        Paragraph 12.01. Except as otherwise expressly set forth in this Contract, no
representations, warranties, covenants or other obligations of Seller and/or Purchaser set forth
herein shall survive the Closing except as specifically provided to survive, and no action based
thereon shall be commenced after the Closing except as to such representations specifically
provided to survive.

        Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
Purchaser shall be deemed the full performance and discharge of every obligation on the part of
Seller to be performed hereunder, except those obligations, if any, of Seller which are expressly
stated in this Contract to survive.

13. Assignment of Contract

        Paragraph 13.01. Purchaser shall have no right to assign this Contract except as provided
for herein. Purchaser may assign its rights under this Contract, but only immediately before the
Closing and only simultaneously with the payment of the Cash Balance, to any wholly owned
subsidiary of Purchaser, or to any entity in which Purchaser, or its principals, has an equity
interest of at least fifty-one (51%) percent and control of management (a “Controlled Entity”),
upon appropriate proof of same delivered to Proponent. Any purported assignment not in
conformity with the provisions hereof shall be void. Any sale, transfer or assignment of any
interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
conditions as an assignment of this Contract. Nevertheless, no assignment shall be effective
unless and until an executed counterpart of the instrument of assignment and assumption
agreement by the Assignee in strict conformity of the requirements of this Paragraph shall have
been delivered to Seller.

       Paragraph 13.02. Seller shall assign pending tax certiorari actions, if any, to Purchaser
without any representations or warranties, and without any further obligation of Seller, except to
execute such documents as may be necessary to effectuate such assignment.

14. Miscellaneous Provisions

 Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE ORDERS
             OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH



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SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
PROCEDURES OR ORDERS.

        Paragraph 14.02. Subject to the provisions of Paragraph 14.01, this Contract embodies
and constitutes the entire understanding between the parties with respect to the transaction
contemplated hereby, and all prior agreements, understandings, representations and statements,
oral or written, are merged into this Contract. Neither this Contract nor any provision hereof may
be waived, modified, amended, discharged, or terminated except by an instrument signed by the
party against whom the enforcement of such waiver, modification, amendment, discharge, or
termination is sought, and then only to the extent set forth in such instrument.

       Paragraph 14.03. This Contract shall be governed by, and construed in accordance with,
the Bankruptcy Code and the Orders of the Bankruptcy Court and, where it does not conflict
with the Bankruptcy Code or any Order of the Bankruptcy Court, the laws of the State of New
York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
concerning the sale of the Property or any other matters under this Contract.

       Paragraph 14.04. The captions in this Contract are inserted for convenience or reference
only and in no way define, describe, or limit the scope or intent of this Contract or any of the
provisions hereof.

        Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
parties hereto and their respective heirs or successors and permitted assigns.

        Paragraph 14.06. This Contract shall not be binding or effective until properly executed
and delivered by Seller and Purchaser, together with all amounts required to be paid pursuant to
2.0l (A) hereto. This Contract may be executed in counterparts each of which will constitute an
original and all of which, when taken together, will constitute one and the same agreement. A
signed counterpart of this Contract delivered by electronic transmission will be treated as an
original.

        Paragraph 14.07. As used in this Contract, the masculine shall include the feminine and
neuter, the singular shall include the plural, and the plural shall include the singular, as the
context may require.

       Paragraph 14.08. Subject to Paragraph 14.01, if the provisions of any schedule or rider to
this Contract are inconsistent with the provisions of this Contract, the provisions of such
schedule or rider shall prevail.

       Paragraph 14.09. This Contract may be executed in counterparts, each of which when
executed shall be deemed to be an original and all of which together shall constitute a single
instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures shall be
deemed original signatures.

      Paragraph 14.10. Seller and Purchaser represent and warrant to each other that
Rosewood Realty Group (the “Broker”) is the only Broker with whom the Seller and Purchaser

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have dealt in connection with this Contract. Any brokerage commission due Broker shall be paid
by Purchaser at closing. Purchaser shall indemnify and defend Seller against any out-of-pocket
costs, claims or expenses including attorney’s fees arising out of breach of this representation,
warranty or any agreement contained within this paragraph. This paragraph shall survive the
closing or if the closing does not occur, the termination of the Contract.




                                   Signature Page to Follow




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  IN WITNESS WHEREOF, the parties hereto have executed this Contract as of the date first
  above written.




         APC HOLDING 1 LLC
 - - - - - - - - - - - - - ("Seller")

                ~                                  -7 -
By _ ___________
Name: _ ,.D=a=--=v:;.:;id=....G;;;,;o;..l_dw;.;;.;..:as=s:.::e;.:.r__
Title: _ ___._.
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                                                                     """"c::::....,__("Purchaser")

 By: CHAVA OBERLANDER




 Escrowee:

 Abrams, Fenstennan, LLP




By _ _ _ _ _ _ _ _ _ __
Name:
Title:




                                                                                                     IO
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   ADDENDUM DATED AS OF MARCH_, 2022 TO THE ANNEXED CONTRACT OF
                         SALE (the "Contract")


 SELLER:                       APC HOLDING 1 LLC


 PURCHASER:                    ABRAHAM ROSENBERG and CHAVA OBERLANDER


 PREMISES:                     568 WILLOUGHBY AVENUE, BROOKLYN, NEW YORK 11206

        Amending and modifying the annexed Contract, the parties agrees as follows:


     I. That the effective date of the Contract shall be February 28, 2022;
    2. That the purchase price be amended and modified to $1,835,390.50 which includes the
        Purchaser's obligation for the break-up fee of $35,390.50.
    3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14.10
        the sum of $90,000.00 as and for Purchaser's obligation towards the broker commission;
    4. That the Purchaser shall be amended to Chava Oberlander and Abraham Rosenberg.
    5. This Addendum may be executed in counterparts, each of which when executed shall be
        deemed to be an original and all of which together shall constitute a single instrument
        binding upon the parties and the use of .pdf electronic signatures shall be deemed original
        signatures.
    6. This Addendum shall be deemed part of the Contract. All of the terms and conditions set
        forth in the Contract remain in full force and effect, except to the extent hereby specifically
        modified or amended by the Addendum.




                                                               APC HOLDING I LLC ("Seller")

                                                               By:_~- - - - - -
                                                               Name: David Goldwasser
                                                               Title: Authorized Signatory
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  CONTRACT dated as of the __ day ofJanuary, 2022 (this "Contract"), between 618
  Lafayette LLC (the "Seller" or "Debtor") having an address at
  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and Joyland Broadway Member LLC , having an
  address at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (the "Purchaser").

         Seller and Purchaser hereby covenant and agree as follows:

  1. Sale of Property

         Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
  purchase, at the price and upon the terms and conditions set forth in this Contract: the real
  properties located at




   618 Lafa ette Ave, Brook! n NY 11216

   (collectively, the "Property"). The sale of the Property includes (a) all of its appurtenances,
  including any estate, right, title, interest, property, claim and demand of Seller in and to all
  streets, alleys, rights-of-way, sidewalks, easements, any adjoining gores or strips of land and
  utility lines or agreements, including, without limitation, all development rights and "air rights"
  of Sellers as of the date hereof; (b) all improvements, buildings and structures located on or at
  the Property and the facilities located thereon, and any apparatus, equipment, appliances and
  fixtures incorporated therein and used exclusively in connection with the operation and
  occupancy thereof; (c) all plans, specifications, budgets, schedules, surveys, drawings, reports
  and governmental applications, permits, approvals and licenses issued by any federal, state or
  local governmental authority or agency pertaining to the ownership, operation, maintenance,
  development, construction or use of the Property (collectively, the "Plans and Permits"); and (d)
  all of its rights and licenses in and to use the Plans and Permits.

         Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to an
  Order of the United States Bankruptcy Court for the Southern District ofNew York (hereinafter
  the "Bankruptcy Court") in Case No. 19-23013, entitled "Bidding and Auction Procedures"
  (hereinafter the "Bidding Procedures") which was approved by the Bankruptcy Court on June 11,
  2021 and is deemed annexed to this Contract.

         Paragraph 1.03. Purchaser acknowledges that this sale is subject to and governed by (1)
  the Orders of the Bankruptcy Court, (2) the provisions of the United States Bankruptcy Code
  (hereinafter the "Code"), (3) the laws of the State of New York, to the extent they do not conflict
  with (1) and (2), above, and (4) the Bidding and Auction Procedures approved pursuant to the
  motion of the Seller.
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  2. Purchase Price, Acceptable Funds

          Paragraph 2.01. The purchase price ("Purchase Price") to be paid by Purchaser to Seller
  for the Property is One Million Six Hundred Thousand and One($ 1,600,001.00) and 00/100
  Dollars or such other bid by the Purchaser approved by the Bankruptcy Court, payable as
  follows:

                  (A) One Hundred Sixty Thousand ($ 160,000.00) and 00/100 Dollars on the
  signing of this Contract, by Purchaser's check payable to the Escrowee (as hereinafter defined),
  subject to collection, the receipt of which is hereby acknowledged, to be held in escrow pursuant
  to Bidding Procedures as defined in Article 3 hereof (the "Down Payment").

                 (B) The balance at Closing (as hereinafter defined) in accordance with Section
  2.02 hereof (the "Balance")

          Paragraph 2.02. All monies payable under this Contract, unless otherwise specified
  herein, shall be paid by (a) certified checks of Purchaser drawn on any federally insured bank,
  savings bank, trust company or savings and loan association having a banking office in the City
  of New York; (b) official bank checks drawn by any such banking institution, payable to the
  order of Seller (or as Seller shall direct) and bearing no endorsements; or (c) wire transfer of
  immediately available federal funds. Attorney's Escrow Checks of Purchaser payable to the
  order of Seller (or as Seller directs) up to the amount of $1,000.00 in the aggregate shall be
  acceptable for sums other than the Purchase Price payable to Seller at Closing.

  3. Escrow of Down Payment

          Paragraph 3.01. (a) The Down Payment shall be paid by check or checks drawn to the
  order of and delivered to Abrams Fensterman, LLP ("Escrowee"). The Escrowee shall hold the
  Down Payment in escrow in a non-interest-bearing IOLA Account until the Closing or sooner
  termination of this Contract and shall pay over or apply the Down Payment in accordance with
  the terms of this section. At the Closing, the Down Payment shall be paid by Escrowee in
  accordance with Bidding Procedures. If for any reason the Closing does not occur and either
  party makes a written demand upon Escrowee for payment of such amount, Escrowee shall give
  written notice to the other party of such demand. If Escrowee does not receive a written
  objection from the other party to the proposed payment within 10 business days after the giving
  of such notice, Escrowee is hereby authorized to make such payment. If Escrowee does receive
  such written objection within such I 0-day period or if for any other reason Escrowee in good
  faith shall elect not to make such payment, Escrowee shall continue to hold such amount until
  otherwise directed by written instructions from the parties to this Contract or pursuant to an order
  of the Bankruptcy Court. However, Escrowee shall have the right at any time to deposit the
  escrowed proceeds and interest, if any, thereon, with the clerk of the Bankruptcy Court.
  Escrowee shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
  Escrowee shall be relieved and discharged of all further obligations and responsibilities
  hereunder.




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          (b) The parties acknowledge that Escrowee is acting solely as a stakeholder at their
  request and for their convenience, that Escrowee shall not be deemed to be the agent of either of
  the parties, and that Escrowee shall not be liable to either of the parties for any act or omission
  on its part unless taken or suffered in bad faith, in willful disregard of this Contract or involving
  gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
  harmless from and against all costs, claims and expenses, including reasonable attorneys' fees,
  incurred in connection with the performance of Escrowee' s duties hereunder, except with respect
  to actions or omissions taken or suffered by Escrowee in bad faith, in willful disregard of this
  Contractor involving gross negligence on the part of the Escrowee.

          (c) Escrowee or any member of its firm shall be permitted to act as counsel for the Seller
  in any dispute as to the disbursement of the Down Payment or any other dispute between the
  parties whether or not Escrowee is in possession of the Down Payment and continues to act as
  Escrowee.

          (d) Escrowee acknowledges receipt of the Down Payment by certified, bank check
  subject to collection or wire transmission and Escrowee's agreement to these provisions by
  signing in the place indicated on the signature page of this contact.

  4. The Closing

          Paragraph 4.01. The conveyance oftitle to the Property by the Seller to Purchaser, and
  payment of the Balance by Purchaser shall take place on the thirtieth calendar day after the
  issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
  under its terms (the "Closing"). The Closing is to be held at the office of the Seller's attorney,
  Abrams, Fensterman, LLP 1 MetroTech Center, Suite 1701, Brooklyn, New York, 11201,
  Escrowee,, TIME OF THE ESSENCE. If the thirtieth (30th) calendar day shall fall on a Saturday,
  Sunday or legal holiday, the actual date of closing shall be the next business day following.
          Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
  Purchaser shall have a one-time right to adjourn the closing of up to fifteen (15) calendar days
  from the original date. Purchaser shall exercise the right to adjourn the closing date no less than
  ten (10) calendar days prior to the date set forth for Closing under Paragraph 4.01. Upon the
  Purchaser's exercise of the right to extend the Closing Date, the Purchaser shall increase the
  contract deposit by an additional $160,000.00. Should the Purchaser not elect to extend the
  Closing Date or should the Purchaser fail to pay the additional contract deposit as required
  herein, then in either of those events, the Purchaser shall not be entitled to any extension of the
  Closing Date.

  5. Acknowledgments and Representations of Purchaser

         Purchaser acknowledges and represents that:

          Paragraph 5.01. Purchaser has inspected the Property, made all appropriate inquiries into
  the previous ownership and uses of the Property, is fully familiar with the physical condition and
  state of repair thereof, and shall accept the Property "as is" and in their present condition,
  including, without limitation, the environmental conditions as reflected in the Terms of Sale


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  annexed hereto, without any reduction of the Purchase Price for any change in such condition by
  any reason thereof subsequent to the date of this Contract. The Terms of Sale set forth
  conditions which Purchaser agrees to accept, including any covenant, easement, and/or deed
  restriction, and any other future obligation relating thereto.

          Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
  of the Property, the physical condition and state of repair thereof including the environmental
  conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
  relying solely on its own expertise and investigations and inspections in entering into this
  Contract and has not been induced by and has not relied upon any representations, warranties, or
  statements, whether express or implied, made by Seller or any agent, employee, or other
  representative of Seller or by any other person representing or purporting to represent Seller or
  Proponent, which are not expressly set forth in this Contract, whether or not any such
  representations, warranties or statements were made in writing or orally.

           Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
  the damages which are due to the Seller, by reason of said default, shall be deemed liquidated in
  the amount of the Down Payment, as Seller's sole remedy, it being agreed that Seller's damages
  in case of such default might be impossible to ascertain with mathematical precision and that the
  Down Payment constitutes a fair and reasonable amount of damages under the circumstances and
  is not a penalty.

          Paragraph 5.04. Purchaser represents that (a) it has the legal power, right and authority to
  enter into this Agreement and to consummate the transactions contemplated hereby and that all
  requisite action has been taken by Purchaser in connection with the entering into this Contract
  and the consummation of the transactions contemplated hereby; (b) this Contract and all
  documents required hereby to be executed by Purchaser are and will be valid, legally binding
  obligations of and enforceable against Purchaser in accordance with their terms (c) Purchaser,
  and all direct or indirect beneficial owners of Purchaser, are in compliance with all applicable
  laws, statutes, rules and regulations of any federal, state or local governmental authority in the
  United States of America, including the requirements of Executive Order No. 13224, 66 Fed.
  Reg. 49079 (Sept. 25, 2001) (the "Order") and other similar requirements contained in the rules
  and regulations of the Office of Foreign Asset Control, Department of the Treasury ("OFAC")
  and in any related enabling legislation or other Executive Orders (collectively, the "Orders").
  Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
  the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
  the Order and/or on any other list of terrorists or terrorist organizations maintained pursuant to
  any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
  are collectively referred to as the "Lists") or is owned or controlled by, or acts for or on behalf
  of, any Person on the Lists or who has been determined by competent authority to be subject to
  the prohibitions· contained in the Orders; (ii) has been arrested for money laundering or for
  predicate crimes to money laundering, convicted or pled nolo contendere to charges involving
  money laundering or predicate crimes to money laundering; or (iii) has been determined by
  competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
  controlled by, nor acts for or on behalf of, any natural person or entity (a "Person") on the Lists
  or any other Person who has been determined by competent authority to be subject to the


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  prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
  Purchaser or such parties to any Person who is, or whose beneficial owners are, listed on the
  Lists; or (vi) will assign this Agreement or any interest herein, to any Person who is listed on the
  Lists or who is engaged in illegal activities.

  6. Destruction, Damage or Condemnation

            Paragraph 6.01. The provisions of Section 5-1311 of the General Obligations Law shall
  not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
  title to the Property regardless of any destruction, damage or condemnation that occurs after the
  execution and d~livery of this Contract.

  7. Seller's Closing Obligations

         At the closing, Seller shall execute and/or deliver or cause to be executed and/or
  delivered to Purchaser the following:

         Paragraph 7.01. A bargain and sale deed without covenants against grantor's acts,
  executed by the Seller in proper form for recording so as to convey to Purchaser the fee title to
  the Property, subject to recorded encumbrances and the other conditions of this Contract.

          Paragraph 7.02. All required New York City and State transfer tax returns executed by
  the Seller to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly after the Closing.

          Paragraph 7.03. The right to possession of any vacant portions of the Property in
  condition required by this Contract, subject to the provisions hereinabove and to the provisions
  of the Code and the laws of the State ofNew York governing the rights to possession upon the
  conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
  Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
  obtaining possession of any part of the Property, or to remove any tenant or occupant therefrom
  after delivery of the Deed.

         Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
  by Seller to consummate this transaction.

  8. Purchaser's Closing Obligations

         At the Closing, Purchaser shall execute and/or deliver:

         Paragraph 8.01. The Balance to the Seller.

          Paragraph 8.02. All required New Yark City and State transfer tax returns and cause all
  such returns to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly after the Closing. Purchaser



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  will pay all recording fees together with any brokerage commission to the broker herein. Per the
  Bankruptcy plan no transfer taxes are anticipated to be due on this sale.

         Paragraph 8.03. Any .other documents required by this Contract or by law or reasonably
  required by Seller to be executed and/or delivered by Purchaser to consummate this transaction.

  9. Apportionments

         Paragraph 9.01. The parties specifically acknowledge that there shall be no
  apportionments made as of the date of Closing, whether for taxes, water or sewer charges,
  emergency repair liens, assessments, rents, fuel, or any other matters relating hereto.

  10. Objections to Sale

           Paragraph 10.01. This Contract shall automatically terminate if the Court rejects the Sale
  or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
  Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
  the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
  may be able to convey, but without any abatement of or other credit to the Purchase Price or
  liability on the part of Seller; or (ii) to terminate this Contract. The sole liability of Seller shall be
  to refund the Down Payment and interest thereon, if any, to the Purchaser and this Contract shall
  be null and void and the parties hereto shall be relieved of all further obligations and liability.
  Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
  title defect or to enable Seller otherwise to comply with the provisions of this Contract, except as
  may otherwise be provided in this Contract.

          Paragraph 10.02. Purchaser shall take title to the Property "as is" and subject to: any state
  of facts an accurate survey may show; encroachments, covenants, easements, and restrictions of
  record, if any; violations, fines, penalties, zoning regulations, and ordinances of the City of New
  York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
  and which are incorporated in this Contract by this reference as though fully set forth herein at
  length.

  11. Notices

          Paragraph 11.01. All notices under this Contract shall be in writing and shall be delivered
  personally, by nationally recognized overnight courier, addressed to Seller's attorney at the
  address set forth below, and to Purchaser addressed to Purchaser's attorney at the address set
  forth below.

  Seller's Attorney:
  Abrams, F ensterman, LLP
  1 Metro Tech Center, Suite 1701
  Brooklyn, New York 11201
  Attn: Mark J. Caruso, Esq.
  mcaruso@abramslaw.com


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  Purchaser's Attorney:




  12. Limitations on Survival of Representations, Warranties, Covenants and other
  Obligations

          Paragraph 12.01. Except as otherwise expressly set forth in this Contract, no
  representations, warranties, covenants or other obligations of Seller and/or Purchaser set forth
  herein shall survive the Closing except as specifically provided to survive, and no action based
  thereon shall be commenced after the Closing except as to such representations specifically
  provided to survive.

          Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
  Purchaser shall be deemed the full performance and discharge of every obligation on the part of
  Seller to be performed hereunder, except those obligations, if any, of Seller which are expressly
  stated in this Contract to survive.

  13. Assignment of Contract

          Paragraph 13.01. Purchaser shall have no right to assign this Contract except as
  provided for herein. Purchaser may assign its rights under this Contract, but only immediately
  before the Closing and only simultaneously with the payment of the Cash Balance, to any wholly
  owned subsidiary of Purchaser, or to any entity in which Purchaser, or its principals, has an
  equity interest of at least fifty-one (51 %) percent and control of management (a "Controlled
  Entity"), upon appropriate proof of same delivered to Proponent. Any purported assignment not
  in conformity with the provisions hereof shall be void. Any sale, transfer or assignment of any
  interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
  conditions as an assignment of this Contract. Nevertheless, no assignment shall be effective
  unless and until an executed counterpart of the instrument of assignment and assumption
  agreement by the Assignee in strict conformity of the requirements of this Paragraph shall have
  been delivered to Seller.

         Paragraph 13.02. Seller shall assign pending tax certiorari actions, if any, to Purchaser
  without any representations or warranties, and without any further obligation of Seller, except to
  execute such documents as may be necessary to effectuate such assignment.

  14. Miscellaneous Provisions

      Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
  ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH



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  SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
  PROCEDURES OR ORDERS.

          Paragraph 14.02. Subject to the provisions of Paragraph 14.01, this Contract embodies
  and constitutes the entire understanding between the parties with respect to the transaction
  contemplated hereby, and all prior agreements, understandings, representations and statements,
  oral or written, are merged into this Contract. Neither this Contract nor any provision hereof may
  be waived, modified, amended, discharged, or terminated except by an instrument signed by the
  party against whom the enforcement of such waiver, modification, amendment, discharge, or
  termination is sought, and then only to the extent set forth in such instrument.

         Paragraph 14.03. This Contract shall be governed by, and construed in accordance with,
  the Bankruptcy Code and the Orders of the Bankruptcy Court and, where it does not conflict
  with the Bankruptcy Code or any Order of the Bankruptcy Court, the laws of the State ofNew
  York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
  concerning the sale of the Property or any other matters under this Contract.

         Paragraph 14.04. The captions in this Contract are inserted for convenience or reference
  only and in no way define, describe, or limit the scope or intent of this Contract or any of the
  provisions hereof.

          Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
  parties hereto and their respective heirs or successors and permitted assigns.

          Paragraph 14.06. This Contract shall not be binding or effective until properly executed
  and delivered by Seller and Purchaser, together with all amounts required to be paid pursuant to
  2.01 (A) hereto. This Contract may be executed in counterparts each of which will constitute an
  original and all of which, when taken together, will constitute one and the same agreement. A
  signed counterpart of this Contract delivered by electronic transmission will be treated as an
  original.

          Paragraph 14.07. As used in this Contract, the masculine shall include the feminine and
  neuter, the singular shall include the plural, and the plural shall include the singular, as the
  context may require.

         Paragraph 14.08. Subject to Paragraph 14.01, if the provisions of any schedule or rider to
  this Contract are inconsistent with the provisions of this Contract, the provisions of such
  schedule or rider shall prevail.

         Paragraph 14.09. This Contract may be executed in counterparts, each of which when
  executed shall be deemed to be an original and all of which together shall constitute a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures shall be
  deemed original signatures.

        Paragraph 14.10. Seller and Purchaser represent and warrant to each other that
  Rosewood Realty Group (the "Broker") is the only Broker with whom the Seller and Purchaser

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  have dealt in connection with this Contract. Any brokerage commission due Broker shall be paid
  by Purchaser at closing. Purchaser shall indemnify and defend Seller against any out-of-pocket
  costs, claims or expenses including attorney's fees arising out of breach of this representation,
  warranty or any agreement contained within this paragraph. This paragraph shall survive the
  closing or if the closing does not occur, the termination of the Contract.




                                     Signature Page to Follow




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          IN WITNESS WHEREOF, the parties hereto have executed this Contract as of the date
  first above written.




  618 Lafayette LLC ("Seller")


           ~
  By _ _ _ _ _ _ _ _ __
  Name: _David
          ___  Goldwaser
                 _ _ _ _ __
  Title: Authorized Signatory
          ----------



                                    her LLC Purchaser")

  By: . ~ _ _ . . . . ~ . . . , L . . . . . . ~ - - - - -
  Nam . ~--..........._..;_;_-=---..c..;.....;..--=-----
  Title: ~-~~ ..S:f:::>




  Escrowee:

  Abrams F ensterman, LLP




  By _ _ _ _ _ _ _ _ __
  Name:
  Title:
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  ADDENDUM DATED AS OF FEBRUARY 2 U, 2022 TO THE ANNEXED CONTRACT
                       OF SALE (the "Contract")


 SELLER:                       618 LAFAYETTE LLC


 PURCHASER:                    JOYLAND BROADWAY MEMBER LLC


PREMISES:                      618 LAFAYETTE AVENUE, BROOKLYN, NEW YORK 11216

       Amending and modifying the annexed Contract, the parties agrees as follows:


   1. That the effective date of the Contract shall he February 28, 2022;
   2. That the purchase price be amended and modified to $1,631,459.24 which includes the
       Purchaser's obligation for the break-up fee of $31,458.24;
   3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14.10
      the sum of $80,000.05 as and for Pm-chaser's obligation towards the broker commission;
   4. Purchaser's attorney for the closing is:     • te-FI-      2 dv1'ck e5Q.
                                                   j_l~       J] ret:Jt,_/:}         c# /./t1_j
                                                    @firof!t.&           Af}:      //2/1
                                                   (T"51?-tC ({f) ,/:,;l-e-,;t<-1 C0 t1-1
   5. This Addendum may be executed in counterparts, each of which when executed shall be
      deemed to be an original and all of which together shall constitute a single instrument
      binding upon the parties and the use of .pdf electronic signatures shall be deemed original
      signatures.
   6. This Addendum shall be deemed part of the Contract. All of the terms and conditions set
      forth in the Contract remain in full force and effect, except to the extent hereby specifically
      modified or amended by the Addendum.
                                                              618 Lafayette LLC ("Seller'')




                                                              Joyland Broadway Member LLC ("Purchaser'')

                                                              By:      \~·                         c
                                                              Name:    ·;f,97( lJ~()r,t;'b·~('jf
                                                              Title:       Avh,ul-z_~ 5t'j(f\cJJ
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 CONTRACT dated as of the _ _ day of January, 2022 (this "Contract"), between 834
 Metropolitan Avenue LLC (the "Seller" or "Debtor") having an address at
 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and Upton Metropolitan LLC , having an address at
 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (the "Purchaser").

        Seller and Purchaser hereby covenant and agree as follows:

 1. Sale of Property

        Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
 purchase, at the price and upon the terms and conditions set forth in this Contract: the real
 properties located at


                                                           834 Metropolitan Avenue LLC
  834 Metro olitan Ave, Brookl n NY 11211

  (collectively, the "Property"). The sale of the Property includes (a) all of its appurtenances,
 including any estate, right, title, interest, property, claim and demand of Seller in and to all
 streets, alleys, rights-of-way, sidewalks, easements, any adjoining gores or strips of land and
 utility lines or agreements, including, without limitation, all development rights and "air rights"
 of Sellers as of the date hereof; (b) all improvements, buildings and structures located on or at
 the Property and the facilities located thereon, and any apparatus, equipment, appliances and
 fixtures incorporated therein and used exclusively in connection with the operation and
 occupancy thereof; (c) all plans, specifications, budgets, schedules, surveys, drawings, reports
 and governmental applications, permits, approvals and licenses issued by any federal, state or
 local governmental authority or agency pertaining to the ownership, operation, maintenance,
 development, construction or use of the Property (collectively, the "Plans and Permits"); and (d)
 all of its rights and licenses in and to use the Plans and Permits.

        Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to an
 Order of the United States Bankruptcy Court for the Southern District ofNew York (hereinafter
 the "Bankruptcy Court") in Case No. 19-23013, entitled "Bidding and Auction Procedures"
 (hereinafter the "Bidding Procedures") which was approved by the Bankruptcy Court on June 11,
 2021 and is deemed annexed to this Contract.

        Paragraph 1.03. Purchaser acknowledges that this sale is subject to and governed by (1)
 the Orders of the Bankruptcy Court, (2) the provisions of the United States Bankruptcy Code
 (hereinafter the "Code"), (3) the laws of the State of New York, to the extent they do not conflict
 with (1) and (2), above, and (4) the Bidding and Auction Procedures approved pursuant to the
 motion of the Seller.
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  2. Purchase Price, Acceptable Funds

          Paragraph 2.01. The purchase price ("Purchase Price") to be paid by Purchaser to Seller
  for the Property is One Million Six Hundred Ten Thousand ($1,610,000.00) and 00/100 Dollars
  or such other bid by the Purchaser approved by the Bankruptcy Court, payable as follows:

                  (A) One Hundred Sixty-One Thousand ($161,000.00) and 00/100 Dollars on the
  signing of this Contract, by Purchaser's check payable to the Escrowee (as hereinafter defined),
  subject to collection, the receipt of which is hereby acknowledged, to be held in escrow pursuant
  to Bidding Procedures as defined in Article 3 hereof (the "Down Payment").

                 (B) The balance at Closing (as hereinafter defined) in accordance with Section
  2.02 hereof (the "Balance")

          Paragraph 2.02. All monies payable under this Contract, unless otherwise specified
  herein, shall be paid by (a) certified checks of Purchaser drawn on any federally insured bank,
  savings bank, trust company or savings and loan association having a banking office in the City
  ofNew York; (b) official bank checks drawn by any such banking institution, payable to the
  order of Seller (or as Seller shall direct) and bearing no endorsements; or (c) wire transfer of
  immediately available federal funds. Attorney's Escrow Checks of Purchaser payable to the
  order of Seller (or as Seller directs) up to the amount of $1,000.00 in the aggregate shall be
  acceptable for sums other than the Purchase Price payable to Seller at Closing.

  3. Escrow of Down Payment

         Paragraph 3.01. (a) The Down Payment shall be paid by check or checks drawn to the
 order of and delivered to Abrams Fensterman, LLP ("Escrowee"). The Escrowee shall hold the
 Down Payment in escrow in a non-interest-bearing IOLA Account until the Closing or sooner
 termination of this Contract and shall pay over or apply the Down Payment in accordance with
 the terms of this section. At the Closing, the Down Payment shall be paid by Escrowee in
 accordance with Bidding Procedures. If for any reason the Closing does not occur and either
 party makes a written demand upon Escrowee for payment of such amount, Escrowee shall give
 written notice to the other party of such demand. If Escrowee does not receive a written
 objection from the other party to the proposed payment within 10 business days after the giving
 of such notice, Escrowee is hereby authorized to make such payment. If Escrowee does receive
 such written objection within such 10-day period or if for any other reason Escrowee in good
 faith shall elect not to make such payment, Escrowee shall continue to hold such amount until
 otherwise directed by written instructions from the parties to this Contract or pursuant to an order
 of the Bankruptcy Court. However, Escrowee shall have the right at any time to deposit the
 escrowed proceeds and interest, if any, thereon, with the clerk of the Bankruptcy Court.
 Escrowee shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
 Escrowee shall be relieved and discharged of all further obligations and responsibilities
 hereunder.

         (b) The parties acknowledge that Escrowee is acting solely as a stakeholder at their
  request and for their convenience, that Escrowee shall not be deemed to be the agent of either of


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  the parties, and that Escrowee shall not be liable to either of the parties for any act or omission
  on its part unless taken or suffered in bad faith, in willful disregard of this Contract or involving
  gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
  harmless from and against all costs, claims and expenses, including reasonable attorneys' fees,
  incurred in connection with the performance ofEscrowee's duties hereunder, except with respect
  to actions or omissions taken or suffered by Escrowee in bad faith, in willful disi;egard of this
  Contractor involving gross negligence on the part of the Escrowee.

          (c) Escrowee or any member of its firm shall be permitted to act as counsel for the Seller
  in any dispute as to the disbursement of the Down ·Payment or any other dispute between the
  parties whether or not Escrowee is in possession of the Down Payment and continues to act as
  Escrowee.

          (d) Escrowee acknowledges receipt of the Down Payment by certified, bank check
  subject to collection or wire transmission and Escrowee's agreement to these provisions by
  signing in the place indicated on the signature page of this contact.

  4. The Closing

          Paragraph 4.01. The conveyance of title to the Property by the Seller to Purchaser, and
  payment of the Balance by Purchaser shall take place on the thirtieth calendar day after the
  issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
  under its.terms (the "Closing"). The Closing is to be held at the office of the Seller's attorney,
  Abrams, Fensterman, LLP 1 MetroTech Center, Suite 1701, Brooklyn, New York, 11201,
  Escrowee,, TIME OF THE ESSENCE. If the thirtieth (30th) calendar day shall fall on a Saturday,
  Sunday or legal holiday, the actual date of closing shall be the next business day following.
          Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
  Purchaser shall have a one-time right to adjourn the closing of up to fifteen (15) calendar days
  from the original date. Purchaser shall exercise the right to adjourn the closing date no less than
  ten (10) calendar days prior to the date set forth for Closing under Paragraph 4.01. Upon the
  Purchaser's exercise of the right to extend the Closing Date, the Purchaser shall increase the
  contract deposit by an additional $161,000.00. Should the Purchaser not elect to extend the
  Closing Date or should the Purchaser fail to pay the additional contract deposit as required
  herein, then in either of those events, the Purchaser shall not be entitled to any extension of the
  Closing Date.

  5. Acknowledgments and Representations of Purchaser

         Purchaser acknowledges and represents that:

          Paragraph 5.01. Purchaser has inspected the Property, made all appropriate inquiries into
  the previous ownership and uses of the Property, is fully familiar with the physical condition and
  state of repair thereof, and shall accept the Property "as is" and in their present condition,
  including, without limitation, the environmental conditions as reflected in the Terms of Sale
  annexed hereto, without any reduction of the Purchase Price for any change in such condition by
  any reason thereof subsequent to the date of this Contract. The Terms of Sale set forth


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  conditions which Purchaser agrees to accept, including any covenant, easement, and/or deed
  restriction, and any other future obligation relating thereto.

          Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
  of the Property, the physical condition and state of repair thereof including the environmental
  conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
  relying solely on its own expertise and investigations and inspections in entering into this
  Contract and has not been induced by and has· not relied upon any representations, warranties, or
  statements, whether express or implied, made by Seller or any agent, employee, or other
  representative of Seller or by any other person representing or purporting to represent Seller or
  Proponent, which are not expressly set forth in this Contract, whether or not any such
  representations, warranties or statements were made in writing or orally.

          Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
  the damages which are due to the Seller, by reason of said default, shall be deemed liquidated in
  the amount of the Down Payment, as Seller's sole remedy, it being agreed that Seller's damages
  in case of such default might be impossible to ascertain with mathematical precision and that the
  Down Payment constitutes a fair and reasonable amount of damages under the circumstances and
  is not a penalty.

          Paragraph 5.04. Purchaser represents that (a) it has the legal power, right and authority to
  enter into this Agreement and to consummate the transactions contemplated hereby and that all
  requisite action has been taken by Purchaser in connection with the entering into this Contract
  and the consummation of the transactions contemplated hereby; (b) this Contract and all
  documents required hereby to be executed by Purchaser are and will be valid, legally binding
  obligations of and enforceable against Purchaser in accordance with their terms (c) Purchaser,
  and all direct or indirect beneficial owners of Purchaser, are in compliance with all applicable
  laws, statutes, rules and regulations of any federal, state or local governmental authority in the
  United States of America, including the requirements of Executive Order No. 13224, 66 Fed.
  Reg. 49079 (Sept. 25, 2001) (the "Order") and other similar requirements contained in the rules
  and regulations of the Office of Foreign Asset Control, Department of the Treasury ("OFAC")
  and in any related enabling legislation or other Executive Orders (collectively, the "Orders").
  Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
  the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
  the Order and/or on any other list of terrorists or terrorist organizations maintained pursuant to
  any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
  are collectively referred to as the "Lists") or is owned or controlled by, or acts for or on behalf
  of, any Person on the Lists or who has been determined by competent authority to be subject to
  the prohibitions contained in the Orders; (ii) has been arrested for money laundering or for
  predicate crimes to money laundering, convicted or pied nolo contendere to charges involving
  money laundering or predicate crimes to money laundering; or (iii) has been determined by
  competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
  controlled by, nor acts for or on behalf of, any natural person or entity (a "Person") on the Lists
  or any other Person who has been determined by competent authority to be subject to the
  prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
  Purchaser or such parties to any Person who is, or whose beneficial owners are, listed on the


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  Lists; or (vi) will assign this Agreement or any interest herein, to any Person who is listed on the
  Lists or who is engaged in illegal activities.

  6. Destruction, Damage or Condemnation

            Paragraph 6.01. The provisions of Section 5-1311 of the General Obligations Law shall
  not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
  title to the Property regardless of any destruction, damage or condemnation that occurs after the
  execution and delivery of this Contract.

  7. Seller's Closing Obligations

         At the closing, Seller shall execute and/or deliver or cause to be executed and/or
  delivered to Purchaser the following:

         Paragraph 7.01. A bargain and sale deed without covenants against grantor's acts,
  executed by the Seller in proper form for recording so as to convey to Purchaser the fee title to
  the Property, subject to recorded encumbrances and the other conditions of this Contract.

          Paragraph 7.02. All required New York City and State transfer tax returns executed by
  the Seller to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly after the Closing.

          Paragraph 7.03. The right to possession of any vacant portions of the Property in
  condition required by this Contract, subject to the provisions hereinabove and to the provisions
  of the Code and the laws of the State ofNew York governing the rights to possession upon the
  conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
  Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
  obtaining possession of any part of the Property, or to remove any tenant or occupant therefrom
  after delivery of the Deed.

         Paragraph 7 .04. Any other documents required by this Contract or by law to be delivered
  by Seller to consummate this transaction.

  8. Purchaser's Closing Obligations

         At the Closing, Purchaser shall execute and/or deliver:

         Paragraph 8.01. The Balance to the Seller.

         Paragraph 8.02. All required New York City and State transfer tax returns and cause all
  such returns to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly after the Closing. Purchaser
  will pay all recording fees together with any brokerage commission to the broker herein. Per the
  Bankruptcy plan no transfer taxes are anticipated to be due on this sale.



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         Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
  required by Seller to be executed and/or delivered by Purchaser to consummate this transaction.

  9. Apportionments

         Paragraph 9.01. The parties specifically acknowledge that there shall be no
  apportionments made as of the date of Closing, whether for taxes, water or sewer charges,
  emergency repair liens, assessments, rents, fuel, or any other matters relating hereto.

  10. Objections to Sale

           Paragraph 10.01. This Contract shall automatically terminate if the Court rejects the Sale
  or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
  Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
  the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
  may be able to convey, but without any abatement of or other credit to the Purchase Price or
  liability on the part of Seller; or (ii) to terminate this Contract. The sole liability of Seller shall be
  to refund the Down Payment and interest thereon, if any, to the Purchaser and this Contract shall
  be null and void and the parties hereto shall be relieved of all further obligations and liability.
  Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
  title defect or to enable Seller otherwise to comply with the provisions of this Contract, except as
  may otherwise be provided in this Contract.

          Paragraph 10.02. Purchaser shall take title to the Property "as is" and subject to: any state
  of facts an accurate survey may show; encroachments, covenants, easements, and restrictions of
  record, if any; violations, fines, penalties, zoning regulations, and ordinances of the City of New
  York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
  and which are incorporated in this Contract by this reference as though fully set forth herein at
  length.

  11. Notices

          Paragraph 11.01. All notices under this Contract shall be in writing and shall be delivered
  personally, by nationally recognized overnight courier, addressed to Seller's attorney at the
  address set forth below, and to Purchaser addressed to Purchaser's attorney at the address set
  forth below.

  Seller's Attorney:
  Abrams, F ensterman, LLP
  1 MetroTech Center, Suite 1701
  Brooklyn, New York 11201
  Attn: Mark J. Caruso, Esq.
  mcaruso@abramslaw.com




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  Purchaser's Attorney:




  12. Limitations on Survival of Representations, Warranties, Covenants and other
  Obligations

          Paragraph 12.01. Except as otherwise expressly set forth in this Contract, no
  representations, warranties, covenants or other obligations of Seller and/or Purchaser set forth
  herein shall survive the Closing except as specifically provided to survive, and no action based
  thereon shall be commenced after the Closing except as to such representations specifically
  provided to survive.

          Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
  Purchaser shall be deemed the full performance and discharge of every obligation on the part of
  Seller to be performed hereunder, except those obligations, if any, of Seller which are expressly
  stated in this Contract to survive.

  13. Assignment of Contract

          Paragraph 13.01. Purchaser shall have no right to assign this Contract except as
  provided for herein. Purchaser may assign its rights under this Contract, but only immediately
  before the Closing and only simultaneously with the payment of the Cash Balance, to any wholly
  owned subsidiary of Purchaser, or to any entity in which Purchaser, or its principals, has an
  equity interest of at least fifty-one (51 %) percent and control of management (a "Controlled
  Entity"), upon appropriate proof of same delivered to Proponent. Any purported assignment not
  in conformity with the provisions hereof shall be void. Any sale, transfer or assignment of any
  interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
  conditions as an assignment of this Contract. N(ivertheless, no assignment shall be effective
  unless and until an executed counterpart of the instrument of assignment and assumption
  agreement by the Assignee in strict conformity of the requirements of this Paragraph shall have
  been delivered to Seller.

         Paragraph 13.02. Seller shall assign pending tax certiorari actions, if any, to Purchaser
  without any representations or warranties, and without any further obligation of Seller, except to
  execute such documents as may be necessary to effectuate such assignment.

  14. Miscellaneous Provisions

      Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
  ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH


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  SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
  PROCEDURES OR ORDERS.

          Paragraph 14.02. Subject to the provisions of Paragraph 14.01, this Contract embodies
  and constitutes the entire understanding between the parties with respect to the transaction
  contemplated hereby, and all prior agreements, understandings, representations and statements,
  oral or written, are merged into this Contract. Neither this Contract nor any provision hereof may
  be waived, modified, amended, discharged, or terminated except by an instrument signed by the
  party against whom the enforcement of such waiver, modification, amendment, discharge, or
  termination is sought, and then only to the extent set forth in such instrument.

         Paragraph 14.03. This Contract shall be governed by, and construed in accordance with,
  the Bankruptcy Code and the Orders of the Bankruptcy Court and, where it does not conflict
  with the Bankruptcy Code or any Order of the Bankruptcy Court, the laws of the State of New
  York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
  concerning the sale of the Property or any other matters under this Contract.

         Paragraph 14.04. The captions in this Contract are inserted for convenience or reference
  only and in no way define, describe, or limit the scope or intent of this Contract or any of the
  provisions hereof.

          Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
  parties hereto and their respective heirs or successors and permitted assigns.

          Paragraph 14.06. This Contract shall not be binding or effective until properly executed
  and delivered by Seller and Purchaser, together with all amounts required to be paid pursuant to
  2.01 (A) hereto. This Contract may be executed in counterparts each of which will constitute an
  original and all of which, when taken together, will constitute one and the same agreement. A
  signed counterpart of this Contract delivered by electronic transmission will be treated as an
  original.

          Paragraph 14.07. As used in this Contract, the masculine shall include the feminine and
  neuter, the singular shall include the plural, and the plural shall include the singular, as the
  context may require.

        Paragraph 14.08. Subject to Paragraph 14.01, if the provisions of any schedule or rider to
 this Contract are inconsistent with the provisions of this Contract, the provisions of such
 schedule or rider shall prevail.

         Paragraph 14.09. This Contract may be executed in counterparts, each of which when
  executed shall be deemed to be an original and all of which together shall constitute a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures shall be
  deemed original signatures.

        Paragraph 14.10. Seller and Purchaser represent and warrant to each other that
  Rosewood Realty Group (the "Broker") is the only Broker with whom the Seller and Purchaser

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  have dealt in connection with this Contract. Any brokerage commission due Broker shall be paid
  by Purchaser at closing. Purchaser shall indemnify and defend Seller against any out-of-pocket
  costs, claims or expenses including attorney's fees arising out of breach of this representation,
  warranty or any agreement contained within this paragraph. This paragraph shall survive the
  closing or if the closing does not occur, the termination of the Contract.




                                     Signature Page to Follow




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          IN WITNESS WHEREOF, the parties hereto have executed this Contract as of the date
  first above written.




  834 Metropolitan A venue LLC ("Seller")



  By- _ ___,_ _ ___.,....,_ __ _ _ ~
   am~. ----,;::----:-:----__.,.,..""""""',_..,.,.,...~ - -
    ~tle;
            - - - ---~--,,_

  Upton Metr~p~lit~~ ("Purchaser")

 By:~v'
 Name:~ a'U ~ <:u...\~\
 Title: ' ( ~ ~




  Escrowee:

 Abrams F ensterman, LLP




 By _ _ _ _ _ _ _ __
 Name:
 Title:
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  ADDENDUM DATED AS OF FEBRUAR@, 2022 TO THE ANNEXED CONTRACT
                       OF SALE (the 'Contract")


 SELLER:                       834 METROPLITAN AVENUE LLC


 PURCHASER:                    UPTON METROPOLITAN LLC


PREMISES:                      834 METROPOLITANAVENUE, BROOKLYN, NEW YORK

       Amending and modifying the annexed Contract, the parties agrees as follows:


   1. That the effective date of the Contract shall be February 28, 2022;
   2. That the purchase price be amended and modified to $1,641,654.83 which includes the
       Purchaser's obligation for the break-up fee of$31,654.83;
   3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14.10
      the sum of $80,500.00 as and for Purchaser's obligation towards the broker commission;
   4. Purchaser's attorney for the closing is:     -r...c J-f-      2   {/.h   ·cf: C.so.
                                                 cJ. I. i.       Ji rofP. Joo<-fu ~ t/o'?!l
                                                                         ✓
   5. This Addendum may be executed in co terparts, each of which when executed shall be
      deemed to be an original and all of which together shall constitute a single instrument
      binding upon the parties and the use of .pdf electronic signatures shall be deemed original
      signatures.
   6. This Addendum shall be deemed part of the Contract All of the terms and conditions set
      forth in the Contract remain in full force and effect, except to the extent hereby specifically
      modified or amended by the Addendum.
                                                         834 Metropolitan Avenue LLC("Seller'1
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  CONTRACT dated as of the-·---·- day of January. 2022 (this ··Contracc•) , between 92 South 4 th
  St LLC, a _ _ _ _ limited liability company, (the -~seller'~ or ··Debtor'~) having an address
  at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and Maguire BKLN LLC, a ____ limited
  liability company . having an address at ____________________
  (the "Purchaser'}

         Seller and Purchaser hereby covenant and agree as follows:

  .1. Sale of Property

         Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
  purchase, at the price.and upon the tem1s and conditions set forth inthis Contract: the real
  properties located at

                       Address
              th
   92 South 4 Street, Brooklyn NY                             92 South 4th St LLC
   11249

   (collectively, the "Property'} The sale of the Property includes (a) all of its appurtenances,
  including any estate. right~ title, interest. property~ claim and demand of Seller in and to all
  streets. alleys, rights-of-way~ sidewalks, easements, any adjoining gores or strips ofland and
  utility lines or agreements, including! without limitation, all development rights and ~~air tights''
  of Sellers as of the date hereof; (b) all improvements, buildings and structures located on or at
  the Property and the facilities located thereon, and any apparatus, equipment, appliances and
  fixtures incorporated therein and used exclusively in connection with the operation and
  occupancy thereof; (c) all plans, specifications, budgets, schedules, surveys, drawings, reports,
  and governmental applications, permits, approvals and licenses issued by any federal, state or
  local governmental authority or agency pertaining to the ownership, operation, mai11tenance,
  development, construction or use of the Property (collectively, the ·'Plans and Pennits'); and (d)
  all of its rights and licenses in and to use the Plans and Permits.

         Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to an
  Order of the United States Bankruptcy Court for the Southern District of New York (hereinafter
  the ~-Bankruptcy Court") in Case No. 19-23013, entitled ~-Bidding and Auction Procedw·estt
  (hereinafter the ;•Bidding Procedures'~) which was approved by the Bankruptcy Court on Jtme 11,
  2021 and is deemed annexed to this Contract.

         Paragraph 1.03. Purchaser acknowledges that this sale is subject to and governed by (1)
  the Orders of the Bankruptcy Court, (2) the provisions of the United States Bankruptcy Code
  (hereinafter the ··Code'~). (3) the laws of the State of New York~ to the extent they do not conflict
  with (1) and (2), above, and (4) the Bidding and Auction Procedures approved pursuant to the
  motion of the Seller.
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  2. Purchase Price, Acceptable Funds

          Paragraph 2.01. The purchase ptice ("Purchase Price~·) to be paid by Purch~ser to Seller
  for the Property is Two million Four Hundred Thousand ($ 2.,400,000.00) and 00/100 Dollars or
  such other bid by the Purchaser approved by the Bankruptcy Court, payable as follows:

                  (A) Two Hundred Forty Thousand($ 240,000.00) and ()0/100 Dollars on the
  signing of this Contract, by Purchaser's check payable to the Escrowee (as hereiriaftetdefined),
  subject to collection. the receipt of which is hereby acknowl~dged, to be held in escrow pursuant
  to Bidding Procedures as defined in At1icle 3 hereof (the ··Down Payment").

                 (B) The balance at Closing (as hereinafter defined) in accordance with Section
  2.02 hereof (the '·Balance~')

          Paragraph 2.02. All monies payable under this Contract, unless otherwise specifi~
  herein, shall be paid by (a) certified checks of Purcha<;erdra\\tn on any federally insured bank;
  savings bank, trust company or savings and loan association having a banking office in the City
  of New York; (b) officia] bank checks drawn by any such banking institution, payable to the
  order of Seller (or as Seller shal1 direct) and bearing no endorsements~ or (c) wire transfer of
  immediately available federal funds. Attorney's Escrow Checks of Purchaser payable to the
  order of Seller (or as Seller directs) up to the amount of $1,000.00 in the aggregate shall be
  acceptable fot sums other than the Purchase Price payable to Seller at Closing.

  3. Escrow of Down Payment

          Paragraph 3.01. (a) The Down Payment shall be paid by check or checks drawn to the
  order of and delivered to Abrams Fensterman, LLP C·Escrovv·ee"), The Escrowee shall hold the
  Down Payment in escrow in a non-interest-bearing IOLA Accmmt until the Closing or sooner
  termination of this Contract and shall pay over or apply the Down Payment in accordance with
  the terms of this section. At the Closing, the Down Payment shall be paid by Escrowee in
  accordance with Bidding Procedures. If for,any reason the Closing-does not 'occttr and eithet
  party makes a written demand upon Escrowee for payment ofsuch amount, Escrowee $hall give
  written notice to the other party of such demand. If Escrowee does not receive a written
  objection from the other party to the proposed payment within 10 business days after the giving
  of such notice. Escrowee is hereby authorized to make such payment. If Escrowee does receive
  such written objection within such 10-day period or if for any other reason Escrowee in good
  faith shall elect not to make such payment, Escrowee shall continue to hold such amount until
  otherwise directed by written instructions from the parties to this Contract or pursuant to an order
  of the Bankruptcy Court. However, Escrowee shall have the right at any time to deposit the
  escrowed proceeds and interest, if any, thereon, with the clerk of the Bankruptcy Court.
  Escrowee shall give written notice of such deposit to Sel1er and Purchaser. Upon such deposit
   Escrowec shall be relieved and discharged of all further obligations and responsibilities
   hereunder.

          (b) The parties acknowledge that Escrowee is acting solely as a.stakeholder at their
  request and for their convenience, that Es_crowee shall not be deemed.to be the agent of either of

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  the parties, and that Escrowce shall not be liable to either of the parties for any act or omission
  on its part unless taken or suffered in bad faith~ in \villful disregard of this Contract or involving
  gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
  hannlcss from and against all costs. claims and expenses, including reasonable attorneys' fees,
  incuITed in connection with the performance of Escrowee's duties hereunder, except with respect
  to actions or omissions taken or suffered by Escrowee in bad faith~ inwillful disregard of this
  Contractor involving gross negligence on the part of the Escrowee.

          {c) Escrowee or any member of its firm shall be permitted to act as counsel for the Seller
  in any dispute as to the disbursement of the Do\.vn Payment or any other dispute between the
  parties whether or not Escrowee is in possession of the Down Payment and continues to actas
  Escrowee.

          (d) Escrowee acknO\vledges receipt ofthe Down Payment by certified, bank check
  subject to collection or wire transmission and Escrowee~s agreement to these provisions by
  signing in the place indicated on the signature page of this contact.

  4. The Closing

           Paragraph 4.01. The conveyance of title to the Property by the Seller to Purchaser, and
  payment of the Balance by Purchaser shall take place on the thirtieth caJendar day after the
  issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
  under its terms (the ··Ciosini~). The Closing is to be held at the o.tlice of the Seller's attorney,
  Abrams Fensterman, LLP 1 MetroTech Center, Suite 1701, Brooklyn, New York, I 1201~
  Escrowee,, TIME OF THE ESSENCE. If the thi11ieth (30 th ) calendar day shall fall on a Saturday,
  Sunday or legal holiday, the actual date ofclosing shall be the next business day following.
           Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
  Purchaser shall have a one-time right to adjourn the closing ofup to fifteen (15) calendar days.
  from the original date. Purchaser shaU exercise the right to adjowTI the closing date no less than
  ten ( l O} calendar days prior to the date set forth for Closing under Paragraph 4.0 I. Upon the
  Purchaser~s exercise ofthe right to extend the Closing Date, the Purchaser shall increase the
  contract deposit by an additional $240J)00.00. Should the Purchaser not elect to extend the
  Closing Date or should the Purchaser fail to pay the additional contractdeposit as required
  herein~ then in either of those events. the Purchaser shall not be entitled to any extension of the
  Closing Date.

  5. Acknowledgments and Representations of Purchaser

          Purchaser acknowledges and represents that:

          Paragraph 5.01. Purchaser has inspected the Property, made all appropriate inquiries into
  the previous ownership and uses of the Property, is fully familiar with the physical condition and
  state of repair thereof, and shall accept the Property "as is" and in their present condition,
  including, without limitation, the environmental conditions as. refl~cted in.the Terms of Sale
  annexed hereto, without any reduction of the Purchase Price for any change in such condition by
  any reason thereof subsequent to the date of this Contract. The Terms ofSale,set forth

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  conditions which Purchaser agrees to accept. including any covenant, easement_, and/or deed
  restriction, and any other future obligation relating thereto.

          Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
  of the Property, the physical condition and state of repair thereof including the environmental
  conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
  relying solely on its own cxpe11ise and investigations and inspections in entering into this
  Contract and has not been induced by and has not relied upon any representations, wananties, or
  statements. whether express or implied~ made by Seller or any agent, employee, or other
  representative of Seller or by any other person representing or purporting to represent Seller or
  Proponent, which are not expressly set forth in this Contract, whether or not any such
  representations, warranties or statements were made in writing or orally.

          Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
  the damages which are due to the Seller, by reason of said default, shall be deemed liquidated in
  the amount of the Down Payment, as Seller? s sole remedy, it being agreed that Seller's damages
  in case of such default might be impossible to ascertain with mathematical precision and that the
  Down Payment constitutes a fair and reasonable amount of damages under the circumstances and
  is not a penalty.

          Paragraph 5.04. Purchaser represents that (a) it has the legal power, right and authority to
  enter into this Agreement and to consummate the transactions contemplated hereby and that all
  requisite action has been taken by Purchaser in connection with the entering into this Contract
  and the consummation of the transactions contemplated hereby: (b) this Contract and all
  documents required hereby to be executed by Purchaser are and will be valid, legally binding
  obligations of and enforceable against Purchaser in accordance ·with their tem1s (c) Purchaser,
  and all direct or indirect beneficial owners of Purchaser, are in compliance -with all applicable
  laws, statutes, rules and regulations of any federal, state or local governmental authority in the
  U11ited States of America, including the requirements of Executive Order No. l 3224~ 66 Fed.
  Reg. 49079 (Sept. 25, 2001) (the "Order") and other similar requirements contained in the.rules
  and regulations of the Otlice of Foreign Asset Control, Department of the Treasury ("OFAC")
  and in any related enabling legislation or other Executive Orders (collectively, the "'Orders").
  Neither Purchaser nor any of the direct or indirect beneficial o-wners of Purchaser (i) is listed on
  the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
  the Order and/or on any other list of tenorists or terrorist organizations maintained pursuant to
  any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
  are collectively referred to as the ··Lists~') or is owned or controlled by~ or acts for or on behalf
  oC any Person on the Lists or who has been determined by competent authority to be subject to
  the prohibitions contained in the Orders; (ii) has been arrested for money laundering or for
  predicate crimes to money laundering, convicted or pied nolo contendere to charges involving
  money laundering or predicate crimes to money laundering; or (iii) has been detennined by
   competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
   controlled by, nor acts for or on behalf of, any natural person or entity (a '•Person·') on the Lists
   or any other Person \.Vho has been determined by competent authority to be subject to the
   prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
   Purchaser or such parties to any Person who is~ or whose beneficial owners are, listed on the

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  Lists; or (vi) will assign.this Agreement or any interest herein~ to any Person who is listed onthe
  Lists or who is engaged in illegal activities.

  6. Destruction, Damage or Condemnation

            Paragraph 6.01. The provisions of Section 5-1311 of the General Obligations Law shall
  not apply to the sale and purchase provided for in this Contract and Purchaser agrees ·to cl(lSe
  title to the Property regardless of any destruction, damage or condemnation that occurs after the
  execution and deli very of this Contract.

  7. Seller's Closing Obligations

          Al the closing~ Seller shall execute and/or deliver or cause to be· exe.cutedand/or
  delivered to Purchaser the following:

         Paragraph 7.01. A bargain and sale deed without covenants against grantor's acts,
  executed by the Seller in proper fonu for recording so as to convey to Purchaserthe fee title to
  the Property, subject to recorded encumbrances and the other conditions of this Contract.

          Paragraph 7.02. All required New York City and State transfer tax returns executed by
  the Seller to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly after the Closing.

          Paragraph 7.03. The right to possession of any vacant p011ions of the Property in
  condition required by this Contract, subject to the provisions hereinabove and to the provisions
  of the Code and the la\VS of the State of New York governing the rights to possession upon the
  conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
  Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
  obtaining possession of any part of the Property, or to remove any tenant or occupant therefrom
  after delivery of the Deed.

         Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
  by Seller to consummate this transaction.

  8. Purchaser's Closing Obligations

          At the Closing, Purchaser shall execute and/or deliver:

          Paragraph 8.0 l. The Balance to the Seller.

          Paragraph 8.02. All required New York City and State transfor tax returns and cause all
  such returns to be issued at the Closing and delivered to the representative of Pw·chaser's title
  company for delivery to the appropriate public officers promptly after the Closing. Purchaser
  will pay all recording fees together with any brokerage commission to the broker herein. Per the
  Bankruptcy plan no transfer taxes are anticipated to be due on this sale.



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         Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
  required b:)1 Seller to be executed and/or delivered by Purchaser to consummate this transaction.

  9. Apportionments

         Paragraph 9.01. The parties specifically acknowledge that there shall be no
  apportionments made as of the date of Closing, whether for taxes, water or sewer charges,
  emergency repair liens~ assessments, rents, fuel, or any other matters relating hereto.

  10. Objections to Sale

          Paragraph I0.01. This Contract shall automatically terminate if the Court rejects the Sale
  or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
  Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
  the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
  may be able to convey, but without any abatement of or other credit to the Purchase Price or
  liability on the part of Seller; or (ii) to terminate this Contract. The sole liability of Seller shall be
  to refund the Down Payment and interest thereon, if any, to the Purchaser and this Contractshall
  be null and void and the parties hereto sha11 be relieved of all further obligatio11s and li4J,ilicy~
  Seller shall not be required to bring any action or proceeding or to incµr any expense to cure: any
  title-defect or to enable Seller otherwise to comply with the provisions of this Contract, except as
  may otherwise be provided in this Contrnct.

          Paragraph l 0.02. Purchaser shall take title to the Property ··as is" and subject to: any state
  of facts an accurate survey may show; encroachments, covenants.. easements, and restrictions of
  record, if any; violations, fines, penalties, zoning regulations. and ordinances of the City of New
  York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
  and which are incorporated in this Contract by this reference as though fully set forth herein at
  length.

  11. Notices

         Paragraph 11.01. All notices under this Contract shall be in writing and shall be delivered
  personally, by nationally recognized overnight courier, addressed to Seller's attorney at the
  address set forth below, and to Purchaser addressed to Purchascr~s attorney at the address set
  forth below.

  Seller's Attorney:
  Abrams, Fenste11nan~ LLP
  1 MetroTech Center. Suite 170 I
  Brooklyn, New York 1120 l
  Attn: Mark J. Caruso, Esq.
  Jncarus0:dabrnmsiaw .coin




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  Purchaser~s Attomey:




  12. Limitations on Survival of Representations, Warranties, Covenants and other
  Obligations

          Paragraph 12.01. Except as otherwise expressly set forth in this Contract, no
  representations~ warranties. covenants or other obligations of Seller and/or Purchaser set forth
  herein shall survive the Closing except as specifically provided to survive, and no action based
  thereon shall be commenced after the Closing except as to such representations specifically
  provided to survive.

          Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
  Purchaser shall be deemed the full performance and discharge of every obligation on the part of
  Seller to be perfom1ed hereunder. except those obligations~ if any, of Seller which are expressly
  stated in this Contract to survive.

  13. Assignment of Contract

          Paragraph 13.01. Purchaser shall have no right to assign this Contract except as
  provided for herein. Purchaser may assign its rights under this Contract, butonly immediately
  bcfbre the Closing and only simultaneously with the payment of the Cash Balance, to any wholly
  owned subsidiary of Purchaser, or to any entity in ,:vhich Purchaser~ or its principals, has an
  equity interest of at least fifty-one ( 51 % ) percent and. control of management (a "Controlled
  Entity''), upon appropriate proof of same delivered to Proponent. Any purpo11ed assigmnent not
  in conformity with the provisions hereof shall be void. Any sale, transfer or assign_ment of any
  interests in Purchaser will be deemed an assignment of this Contracumd is subject to.the same
  conditions as an assignment of this Contract. Nevertheless, no assignment sh~ll be effective
  unless and until an executed counterpm1 of the instrument of assignment and assumption
  agreement by the Assignee in strict confonnity of the requirements of this Paragraph shall have
  been delivered to Seller.

         Paragraph 13.02. Seller shall assign pending tm< ce11iorari actions, if any, to Purchaser
  without any representations or wananties, and without any further obligation of Seller, except to
  execute such documents as may be necessary to effectuatc such assignment.

  14. Miscellaneous Provisions

       Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
  ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH
  SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
  PROCEDURES OR ORDERS.

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          Paragraph 14.02. Subject to the provisions of Paragraph 14.0 I, this Contract embodies
  and constitutes the entire understanding between the patties with r~spect to the transaction
  contemplated hereby, and all prior agreements, understandirigs, representations and staten'ients~
  oral or written~ are merged into this Contract. Neither this Contract nor any provision hereof :may
  be waived. modified, amended, discharged~ or terminated except by an instrument signed by the
  party against whom the enforcement of such waiver. modification, amendment, discharge., or
  termination is sought, and then only to the extent set fotth in such instrument.

         Paragraph 14.03. This Contract shall be governed by. and construed in accordance with,
  the Bankruptcy Code and the Orders of the Bankruptcy Court and, where it does not conflict
  with the Bankruptcy Code or any Order of the Bankruptcy Cow·t, the laws of the State of New
  York. The Bankruptcy Court shall have the exclusive jw·isdiction to determine any disputes
  concerning the sale of the Property or any other matters ut1der this Contract.

          Paragraph 14.04. The captions in this Contract are inserted for convenience or reference
  only _and in no way define, describe, or limit the scope or intent of this Contrac,t or any of the
  provisions hereot:

          Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit pf the
  parties hereto and their respective heirs or successors and permitted assigns.

          Paragraph 14.06. This Contract shall not be binding or effective t1ntil properly executed
  and delivered by Sel1er and Purchaser. together with al1 amounts required to be paid pursuant to
  2.01 (A) hereto. This Contract may be executed in counterparts each of which will constitute an
  original and all of which~ when taken together, will constitute one and the same agreement. A
  signed counterpart of this Contract delivered by electronic transmission will be treated as an
  original.

          Paragraph 14.07. As used in this Contract, the masculine shall include the feminine and
  neuter, the singular shall include the plural. and the plural shall include the singular, as the
  context may require.

         Paragraph 14.08. Subject to Paragraph 14.01, if the provisions of any schedule or.rider to
  this Contract are inconsistent with the provisions of this Contract, the provisions of such
  schedule or rider sha11 prevail.

         Paragraph 14.09. This Contract may be executed in counterpartsJ each of which when
  executed shall be deemed to be an original and all of which together shall constitute a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures shall be
  deemed original signatures.




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         Paragraph 14.10. Seller and Purchaserrepresent and warranUo each other that
 Rosewood Realty Group (the ··Broker~") is the only Broker with whom the Seller and Purchaser
 have dealt in connection with this Contract. Any brokerage commission due Broker shall be paj~l
 by Purchaser at closing. Purchaser shall indemnify and defend Seller against any out-ot~pocket
 costs, claims or expenses including attomcis fees arising out of breach of this representation,
 wan-anty or any agreement contained within this paragraph. This paragraph shall survive the
 closing or if the closing does not occur~ the termination of the Contract.




                                    Signature Page to Follow




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  MAGUIRE BKLN LLC ('·Purc-has~r")

  By:
  Name: .
  Titlq::




   Escrowee:

   Abrams Fensterman, LLP




   By ____________
   Name_;:
  "Title:
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  ADDENDUM DATED AS OF FEBRUARY_, 2022 TO THE ANNEXED CONTRACT
                       OF SALE (the "Contract")


 SELLER:                           92 SOUTH 4TH ST LLC


 PURCHASER:                        MAGUIRE BKLN LLC


 PREMISES:                         92 SOUTH 4m STREET, BROOKLYN, NEW YORK 11249

        Amending and modifying the annexed Contract, the parties agrees as follows:


    1. That the effective date of the Contract shall be February 28, 2022;
    2. That the purchase price be amended and modified to $2,447,187.33 which includes the
        Purchaser's obligation for the break-up fee of $47Jl87.33;
    3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14.10
        the sum of$120,000.00 as and for Purchaser's obligation towards the broker commission;
    4. Purchaser's attorney for the closing is: _\,)
                                                  ____:_\\.;._..;..;;G\4=---')t""""l.....a<-"--·--------




    5. This Addendum may be executed in counterparts, each of which when executed shall be
        deemed to be an original and all of which together shall constitute a single instrument
        binding upon the parties and the use of .pdf electronic signatures shall be deemed original
        signatures.
    6. This Addendum shall be deemed part of the Contract. All of the tenns and conditions set
        forth in the Contract remain in full force and effect, except to the extent hereby specifically
        modified or amended by the Addendum.
                                                                       92 SOUTH 4n I ST LLC ("'Seller·')


                                                                       By _ __ __...,___--r-;- -- -- -
                                                                         ame.: ~ David        Go   V"".,ldwaser
                                                                                                              1




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                                                                                  _ __              _ __              ..,;::;:......._......,.a;...._




                                                                                                              LLC ("Purchaser")

                                                                       By:_--r.~---t-1----==r------
                                                                       Name:            Mo,f'\l.'y\         Ac.~'f.-
                                                                       Title: ~~~~                            s ..___~
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  CONTRACT dated as ofthe. __ day of January, 2022 (this "Contra~t"), between ·325
  Franklin LLC (the ''Seller'~ or "Debtof') having an address at
  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and Maguire BKLN LLC, having an address at
  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (the ··Purchaser").

         Seller and Purchaser hereby covenant and agree as follows:

  1. Sale of Property

         Paragraph I .01. Seller shall sell or cause to be sold lo Purchaser, and Purchaser shall
  purchase! at the price and upon the terms and conditions set fo11h in this Contract: the real
  properties located at



   325 Franklin Ave, Brookl n NY 1 I 238                 325 Franklin LLC

   (collectively, the ··Property''). The sale of the Pro.perty includes (a) all of its appurtenances,
  including any estate~ right, title~ interest, property, claim and demand of Seller in and to a:11
  streets, alleys~ rights-of-way. sidewalks, casements, any adjoining gores or strips ofland and
  utility lines or agreements, including, without Jimitation, all development rights and "air rights"
  of Sellers as of the date hereof; (b) a11 improvements, buildings and structures located on or at
  the Property and the facilities located thereon, and any apparatus, equipment, appliances and
  fixtures incorporated therein and used exclusively in connection with the operation and
  occupancy thereof: (c) all plans. specifications. budgets. schedules. surveys, drawings, reports
  and governmental applications. permits. approvals and licenses issued by any federal~ state or
  local governmental authority or agency pe11aining to the ownership, operation, maintenance,
  development construction or use of the Prope11y (collectively, the --Plans and Permits"); and (d)
  all of its rights and Iicenses in and to use the Plans and Pem1its.

          Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to an
  Order of the United States Bankruptcy Comt for the Southern District of New York (hereinafter
  the ··Bankruptcy Court~") in Case No. 19-23013, entitled "Bidding and Auction Procedures~'
  (hereinafter the ·•Bidding Procedures'') which was approved by the Bankrnptcy Court on June 11,
  2021 and is deemed annexed to this Contract.

          Paragraph 1.03. Purchaser acknowledges that this sale is subject to and governed by (1)
  the Orders of the Bankruptcy Court. (2) the provisions of the United States Bankruptcy Code
  (hereinafter the '·Code.. ), (3) the laws of the State ofNe\v York. to the extent they do not conflict
  with (1.) and (2), above~ and (4) the Bidding and Auction Procedures approved pursuant to the
  motion of the Seller.




  2. Purchase Price, Acceptable Funds
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         Paragraph 2.01. The purchase price C-Purchase Price") to be paid by Purchaser to Seller
 for the Property is Two Million Seven Hundred Twenty Five Thousand ($ 2,725,000.00) and
 00/l 00 Do11ars or such other bid by the Purchaser approved by th~ BtU1kruptcy Court, payable as
 follows:

                 (A) Two Hundred Seventy-Two Thousand Five Hundred ($ 272,500.00) and
 00/100 Dollars on the signing of this Contract. by Purchaser*s check payable to the Escrowee (as
 hereinafter defined), subject to collection, the receipt of which is hereby acknowledged, to be
 held in escrow pursuant to Bidding Procedures as defined in Article 3 hereof (the '·Down
 Payment·l

                 (B) The balance at Closing (as hereinafter defined} in accordance with Section
  2.02 hereof (the .. Balance·!)

          Paragraph 2.02. All monies payable under this Contracl~ unless otherwise specified
  herein~ shall be paid by (a) certified checks of Purchaser drawn on any federally insured bank,
  savings bank~ trust company or savings and loan association having a banking office in the City
  of New York; (b) official bank checks drawn by any such banking in~titution_, payable to the
  order of Seller (or as Seller shall direct) and bearing no endorsements; or (c) wire·transforof
  immediately available federal funds. Attomey~s Escrow Checks of Purchaser payable to the
  order of Seller (or as Seller d-irects) up to the amount of $1,000.00 in the aggregate shall be
  acceptable for stuns other than the Purchase Price payable to Seller at Closing.

  3. Escrow of Down Payment

          Paragraph 3.01. (a) The Down Payment shall be paid by check or checks drawn to the
  order of and delivered to Abrams Fenstennan~ LLP r·Escrowee"). The Escrowee shall hold the
  Down Payment in escrow in a non-interest-bem-ing IOLA Account until the Closing or sooner
  termination of this Contract and shall pay over or apply the Down Payment in accordance with
  the terms of this section. At the Closing. the Dow·11 Payment shall be paid by Escrowee in
  accordance with Bidding Procedures. If for any reason the Closing does not occur and either
  party makes a written demand upon Escrowee for payment of such amount, Escrowee shall give
  written notice to the other party of such demand. If Escrowee does not receive a ·written
  objection from the other party to the proposed payment within 10 business da:ys after the giving
  of such notice, Escrowee is hereby authorized to make such payment. If Escrowee does receive
  such wTitten objection within such l 0-day period or if for any other reason Escrowee in good
  faith shall elect not to make such payment. Escrowee shall continue to hold such amount until
  otherwise directed by written instructions from the parties to this Contract or pursuant to an order
  of the Bankruptcy Comt. However. Escrmvee shalJ have the right at any time to deposit the
  escrO\ved proceeds and interest~ if any, thereon. with the clerk of the Bankruptcy Court.
  Escrowec shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
  Escrowee shall be relieved and discharged of all further obligations and .responsibilities
  hereunder.




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         (b) The parties acknowledge that Escrowee is acting solely as a stakeholder at their
 request and for their convenience, that Escrowee shall not be deemed to be the agent of either of
 the parties. and that EscrO\.vec shall not be liable to either of the parties for any act or omission
 on its pait unless taken or suffered in bad fitith_ in willful disregard of this Contract or involving
 gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowee
 harmless from and against all costs, claims and expenses, including reasonable attorneys' fees,
 incurred in connection with the performance of Escrowee' s duties hereunder, except with,r:espect
 to actions or omissions taken or suffered by Escrowec in bad faith, in willful disregard ofthis
 Contractor involving gross negligence on the part of the Escrowee.

          (c) Escrowec or any member of its firm shall be permitted to act as counsel for the Seller
  in any dispute as to the disbursement of the Down Payment or any other dispute between the
  parties whether or not Escrowee is in possession of the Down Payment and continues to act as
  Escrowce.

          (d) Escrowee acknowledges receipt of the Down Payment by certified, bank check
  subject to collection or wire transmission and Escrowce's agreement to these provisions by
  signing in the place indicated on the signature page of this contact.

  4. The Closing

          Paragraph 4.0 I. The conveyance of title to the Property by the Seller to Purchaser, and
  payment of the Balance by Purchaser shall take place on the thirtieth calendar day after the
  issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
  under its tenns (the ··Closing.. ). The Closing is to be held at the otlice of the Seller's attorney,
  Abrams. Fensterman. LLP ) MctroTech Center. Suite 1701 ~ Brooklyn, New York., 11201,
  Escrowee .. TIME OF THE ESSENCE. If the thirtieth (30 th ) calendarday shall fall on a Saturday,
  Sunday or legal holiday. the actual date of closing shall be the next business day following.
           Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
  Purchaser shall have a one-time right to adjourn the closing ofup to fifteen ( 15) calendar days
  from the original date. Purchaser shall exercise the right to adjourn the closing date no less· than
  ten ( lO) calendar days prior to the date set forth for Closing under Paragraph 4.01. Upon the
  Purchaser's exercise of the right to extend the Closing Date, the Purchaser shall increase the
  contract deposit by an additional $272.500.00 Should the Purchaser not elect to extend the
  Closing Date or should the Purchaser fail to pay the additional contract deposit as required
  herein, then in either of those events~ the Purchaser shall not be entitled to any extension of the
  Closing Date.

  5. Acknowledgments and Representations of Purchaser

          Pw·chaser acknowledges and represents that:

          Paragraph 5.01. Purchaser has inspected the Property. made all appropriate inquiries into
  the previous ownership and uses of the Property, is fully familiar with the physical condition and
  state of repair thereof, and shal I accept the Property "as if. and in their present condition,
  including, without limitation, the environmental conditions as reflected in the Tenns of Sale
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 annexed hereto, without any reduction of the Purchase Price for any change in such condition by
 any reason thereof subsequent to the date of th.is Contract. The Terms of Sale set forth
 conditions which Purchaser agrees to accept, including any covenant, easement, and/or deed
 restriction, and any other future obligation relating thereto.

         Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
 of the Property, the physical condition and state of repair thereof including the environmental
 conditions. Purchaser acknmvledges that it is an experienced real estate owner/operator and is
 relying solely on its own expertise and investigations and inspections in entering into this
 Contract and has not been induced by and has not relied upon any representations, warranties~ or
 statements.. whether express or implied, made by Seller or any agent, employee, or other
 representative of Seller or by any other person representing or purporting to represent Seller or
 Proponent which arc not expressly set fo11h in this Contract, whether or not any such
 representations, warranties or statements were made in writing or orally.

          Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
  the damages which are due to the Seller, by reason of said default, shall be deemed liquidated in
  the amount'ofthe Down Payment, as Seller's sole remedy, it being agreed that Seller's damages
  in case of such default might be impossible to ascertain with mathematical precision and that.the
  Down Payment constitutes a fair and reasonable amount of damages under the circuri1stances-and
  is not a penalty.

          Paragraph 5.04. Purchaser represents that (a) it has the legal power. right and authority to
  enter into this Agreement and to consummate the transactions contemplated hereby and that all
  requisite action has been taken by Purchaser in connection with the entering into this Contract
  and the consummation of the transactions contemplated hereby; (b) this Contract and all
  documents required hereby to be executed by Purchaser are and will be valid, legally binding
  obligations of and enforceable against Purchaser in accordance with their terms (c) Purchaser,
  and all direct or indirect beneficial owners of Pm·chaser, are in compliance with all applicable
  laws, statutes. rules and regulations of any federal, state or local governmental authority in the
  United States of America~ including the requirements of Executive Order No. 13224, 66 Fed.
  Reg. 49079 (Sept. 25~ 2001) (the ··Order") and other similar requirements contained in the rules
  and regulations of the Otlicc of Foreign Asset Control. Depai1ment of the Treasury ("OFAC")
  and in any related enabling legislation or other Executive Orders (.collectively; the "'Orders~').
  Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
  the Specially Designated Nationals and Blocked Persons List maintained by OFAC pµrsuant to
  the Order andior on any other list of terrorists or terrorist organizations maintained pm·suant to
  any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
  are collectively referred to as the ··Ustf') or is owned or controlled by, or acts for or on behalf
  ot: any Person on the Lists or who has been dete1111incd by competent authority to be subject to
  the prohibitions contained in the Orders; (ii) has been arrested for money laundering or for
  predicate crimes to money law1dering, convicted or pied nolo contendere to charges involving
  money laundering or predicate crimes to money laundering; or (iii) has been determined by
   competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
   controlled by. nor acts for or on bd1alf ot: any natural person or entity (a ··Person'') on the Lists
   or any other Person who has been determined by competent authority to be subject to the

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 prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
 Purchaser or such parties to any Person who is. or whose beneficial owners are, listed on the
 Lists; or (vi) will assign this Agreement or any interest herein, to any Person who is listed on the
 Lists or who is engaged in illegal activities.

 6. Destruction, Damage or Condemnation

         Paragraph 6.01. The provisions of Section 5-1311 of the, General Obligations Law shall
  not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
  title to the Property regardless of any destruction. damage or condemnation that occurs after the
  execution and delivery of this Contract.

  7. Seller's Closing Obligations

          At the closing. Seller shall execute and/or deliver or cause to be executed and/or
  delivered to Purchaser the following:

         Paragraph 7.01. A bargain and sale deed without covenants against grantor's acts,
  executed by the Seller in proper form for recording so as to convey to Purchaser the fee title to
  the Property, subject to recorded encumbrances and the other conditions of this Contract.

          Paragraph 7.02. All required New York City and State transfertax returns-executed by
  the Seller to be issued at the Closing and delivered to the representative of Purchaser's title
  company fbr delivery to the appropriate public officers promptly after the Closing.

          Paragraph 7.03. The right to possession of any vacant portions of the Property in
  condition required by this Contract, subject to the provisions hereinabove and to the provisions
  of the Code and the laws of the State of New York governing the rights to possession upon the
  conveyance of the deed subject to any Order of the Bankruptcy Com1 and the Bidding
  Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
  obtaining possession of any part of the Property. or to remove any tenant or occupant therefrom
  after delivery of the Deed.

          Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
  by Seller to consummate this transaction.

  8. Purchaser's Closing Obligations

          At the Closing, Purchaser shall execute and/or deliver:

          Paragraph 8.0 I. The Balance to the Seller.

          Paragraph 8.02. AU required New York City and State transter tax returns and cause all
  such returns to be issued at the Closing and delivered to the representative of Purchaser's title
  company for delivery to the appropriate public officers promptly atier the Closing. Purchaser



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 will pay all recording fees together with any brokerage commission to the broker herein. Per the
 Bankruptcy plan no transfor taxes arc anticipated to be due on this sale.

         Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
  required by SeHer to be executed and/or delivered by Purchaser to consummate this transaction.

 9. Apportionments

         Paragraph 9.01. The parties specifically acknowledge that there shall be no
  apportionments made as of the date of Closing, whether for taxes. water or sewer charges,
  emergency repair liens, assessments, rents, fuel, or any other matters relating hereto.

  10. Objections to Sale

           Paragraph 10.01. This Contract shall automatica1fy teiminate if the Court rejects the Sale
  or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
  Closing Date or any adjournments thereof in accordance ,Nith the provisions of this Contract and
  the Bidding Procedures. Purchaser neve11heless may e)ect either (i) to accept such title as Seller
  may be able to convey. but without any abatement of or other credit to the Purchase Price or
  liabiJity on the part of Seller; or {ii) to terminate this Contract. The sole .liability of Seller shall be
  to refund the Down Payment and interest thereon, if any, to the Purchaser and this Contract shall
  be null and void and the parties hereto shall be relieved of all fm1her obligations and liability.
  Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
  title defect or to enable Seller otherwise to comply with the provisions of this Contract, except as
  may otherwise be provided in this Contract.

          Paragraph I 0.02. Purchaser sha11 take title to the Property "as is" and subject to: any state
  of facts an accurate survey may show; encroachments, covenants, easenientsj and restrictions of
  record~ if any; violations. fines. penalties. zoning regulations. and ordinances of the City of New
  York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
  and which are incorporated in this Contract by this reference as though fully set forth herein at
  length.

  II. Notices

          Paragraph 11.01. All notices under this Contract shall be in writing and shall be delivered
  personally. by nationally recognized overnight courier, addressed to Seller's attorney at the
  address set forth below~ and to Purchaser addressed to Purchaser's attorney at the address set
  forth below.

  Seller~ s Attorney:
  Abran1S~ Fenstem1an, LLP
  1 MctroTech Center. Suite 170 I
  Brooklyn. New· York t 1201
  Attn: Mark J. Caruso, Esq.
  n1..:~u-usi 1 (tah_rnJ11~l~t\\ ~~J_1n


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  Purchaser~ s Attorney:




  12. Limitations on Survival of Representations, Warranties, Covenants and other
  Obligations

          Paragraph 12.01. Except as othenvise expressly set forth in this Contract, no
  representations. warranties, covenants or other obligations of Seller and/or Purchaser set forth
  herein shall survive the Closing except as specifically provided to survive, and no action based
  thereon shall be commenced after the Closing except as to such representations specifically
  provided to survive.

          Paragraph 12.02. The delivery of the deed by the Seller and the acceptance th~reof by
  Purchaser shall be deemed the full performance and discharge of every obligation on the part of
  Seller to be perfonned hereunder. except those obligations, if any~ of Se.Iler which are expressly
  stated in this Contract to survive.

  13. Assignment of Contract

          Paragraph 13.01. Purchaser shall have no right to assign this Contract except as
  provided for herein. Purchaser may assign its rights under this Contract~ but only immediately
  before the Closing and only simultaneously with the payment of the Cash Balance, to any wholly
  owned subsidiary of Purchaser. or to any entity in ,vhich Purchaser. or its principals~ has an
  equity interest of at least fifty-one (51 %) percent and control of management (a ··controlled
  Entity""), upon appropriate proof of same delivered to Proponent. Any purported assignment not
  in conformity with the provisions hereof shall be void. Any sale. transfer or assignment of any
  interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
  conditions as an assignment of this Contract. Nevettheless, no assignment shall be effective
  unless ,md until an executed counterpart of the instrument of assignment and assumption
  agreement by the Assignee in strict confonnity of the requirements of this Paragraph shall have
  been delivered to Seller.

         Paragraph I 3.02. Seller shall assign pending tax certiorari ~ctions, if any, to Purchaser
  without any representations or warranties, and without any fi.uther obligation of Seller, except to.
  execute such documents as may be necessary to effectuate such assignment.

  14. Miscellaneous Provisions

       Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
  ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH


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 SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
 PROCEDURES OR ORDERS.

         Paragraph 14.02. SubjeL:l to the provisions of Paragraph 14.0 l, this Contract embodies
  and constitutes the entire understanding between the parties with respect to the transaction
  co11ten1plated hereby, and all prior agreements, understandings, representations and s'tcltements,_
  oral or \\'Titten, are merged into this Contract. Neither this Contract nor a11y provision hereof may
  be waived, modified, amended~ discharged, or terminated except-by an instrumeµ(signed by the
  party against whom the enforcement. of such waiver~ modification, amendment, discharge, or
  termination is sought, and then only to the extent set forth in such instrument.

          Paragraph 14.03. This Contract shall be governed by, and construed in accordance with,
  the Bankruptcy Code and the Orders of the Bankruptcy Court and, where it does notconflict
  with the Bankruptcy Code or any Order of the Bankruptcy Court, the laws of the State ofNew
  York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
  concerning the sale of the Prope11y or any other matters under this Contract.

         Paragraph 14.04. The captions in this Contract are inscned for convenience or reference
  only and in no way define. describe. or limit the scope or intent of this Contract or any of the
  provisions hereof

          Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
  parties hereto and their respective heirs or successors and permitted assigns.

          Paragraph 14.06. This Contract shall not be binding or effective until properly executed
  and delivered by SelJer and Purchaser. together with all amounts required to be paid pursuant to
  2.01 (A) hereto. This Contract may be executed in countcrpatts each of which will constitute an
  oliginal and all of which. when taken together. will constitute one and the same agreement. A
  signed counterpart of this Contract delivered by electronic transmission will be treated as an
  original.

          Paragraph 14.07. /\s used in this Contract. the masculine shall include the feminine and
  neuter. the singular shall include the pluraL and the plural shall include the singular, as the
  context may require.

         Paragraph 14.08. Sul:ject to Paragraph 14.01, if the provisions of any schedule or riderto
  this Contract are inconsistent with the provisions of this Contract, the provisions of such
  schedule or rider shall prevail.

         Paragraph 14.09. This Contract may be executed in counterpmts, each of which when
  executed shall be deemed to be an original and all of which together shall constitute. a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures shall be
  deemed original signatures.

        Paragraph 14.10. Seller and Purchaser represent and warrant to each other that
  Rosewood Realty Group (the ··Broker'~) is the only Broker with whom the Seller and Purchaser

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 have dealt in connection with this Contract. Any brokerage commission due Broker shall be paid
 by Purchaser at closing. Purchaser shall indemniiY and defend Seller against any out-of-pocket
 costs. claims or expenses including attorncy·s foes arising out of breach of this representation,
 waITanty or any agreement contained within this paragraph. This paragraph shall survive the
 closing or if the closing does not occur. the termination of the Contract.




                                      Signature Page to Follow




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              IN WITNESS.W/fEREQF~ the parties hereto have e~ecutedthis ContraoUts.a:ft~1e:qijf~.
      fit~_tabove ·written.




       325 FRANKLINLLC C~SeTief)



BY . . . . . . . -----~~r--=--=-=-=- - ~
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                                                                                          .,.;;..,·_




       MA(H.JIRE ilKLN: . LC (''Purchaser'~)

       By: _ _ ___.,_____ _ _ _ __
        Naine: _ _ _ _ _ _ _ ____
        Title:




         Escrowee:

        Abtams·Fenstetman~ LLP




         By _ _ _ _ _ _ _ _ _ __
         Name:
         Title:




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  ADDENDUM DATED AS OF FEBRUARY_, 2022 TO THE ANNEXED CONTRAC~
                       OF SALE (the "Contract")


 SELLER:                                325 FRANKLIN LLC


 PURCHASER:                             MAGUIRE BKLN LLC


 PREMISES:                              325 FRANKLIN AVENUE, BROOKLYN, NEW YORK 11238

         Amending and modifying the annexed Contract, the parties agrees as follows:


    1. That the effective date of the Contract shaJI be February 28, 2022;
    2. That the purchase price be amended and modified to $2~ 778,577.28 which includes the
         Purchaser's obligation for the break-up fee of $53,577.28;
    3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14. l 0
         the sum of$136,250.00 as and for Purchaser's obligation towards the broker commission;
    4. Purchaser's attorney for the closing is: ____,;\,.);....;;;....;\\"----="=c.~,;.;.~....::;;s<....;:....:..•--------




    5. This Addendum may be executed in counterparts, each of which when executed shall be
         deemed to be an original and all of which together shall constitute a single instrument
         binding upon the parties and the use of .pdf electronic signatures shall be deemed original
         signatures.
    6. This Addendum shall be deemed part of the Contract. All of the tenns and conditions set
         forth in the Contract remain in full force and effect, except to the extent hereby specifically
         modified or amended by the Addendum.
                                                                                   325 FRANKLIN LLC ("Seller")




                                                                                   By:          .
                                                                                   Name: Mos"""" 1'-,,.,r,..K
                                                                                   Title:     ~,w         c;~~
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  CONTRACT dated as of the _ _ day of January, 2022 (this ··Contract'~) , between 53 Stanhope
  LLC (the ··Seller" or ··Debtor") having an addre~s at
   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and Maguire BKLN LLC, having- an addres~,.at.
                                                                       4


  -------------------- (the 'Purchascr").
         Sel lcr and Purchaser hereby covenant and agree as follows:

  I. Sale of Property

          Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
  purchase. at the price and upon the terms and conditions set fmih in this Contract: the real
  properties located at



   53 Stanho e Street~ Brookl ··n NY l 1238                                 53 Stanhope LLC

   (collectively, the "Prope11y"). The sale of the Property includes (a) all of its appurtenances,
  including any estate~ right, title, interest, property. claim and demand of Seller in and to all
  streets, alleys .. rights-of-way, sidewalks, easements,, any adjoining gores oi strips of land and
  utility lines or agreements. including, without limitation., all developm~nt rights and ·"air rights"
  of Sellers as of the date hereof; (b) all improvements, buildings and structures located on or at
  the Property and the facilities located thereon. and any apparatus, equipment, appliances and
  fixtures incorporated therein and used exclusively in connection with the operation and
  occupancy thereof; (c) all pJans~ specifications~ budgets, schedules, surveys, drawings, reports
  and govemmental applications, permits, approvals and licenses issued by any federal, state or
  local governmental authority or agency pertaining to the ownership. operation, maintenance,
  development, construction or use of the Property (collectively. the ··Plans and Pcm1its"); and (d)
  all of its rights and licenses in and   to   use the Plans and Permits.

          Paragraph 1.02. Purchaser acknO\:vledges that the Sale shall be conducted pursuant to an
  Order of the United States Bankruptcy Cou1t for the Southern District of New York (hereinafter
  the ··Bankruptcy Court") in Case No. 19-23013, entitled "Bidding and Auction Procedtu-es'!
  (hereinafter the "Bidding Procedures!') which was approved by the Bankruptcy Court on June 11,
  2021 and is deemed annexed to this Contract.

          Paragraph 1.03. Purchaser acknowledges that this sale is subject to and governed by (1)
  the Orders of the Bankruptcy Court, {2) the provisions of the United States Bankruptcy Code
  (hereinafter the ~-code")~ (3) the laws of the State of New York, to the extent they do not conflict
  with ( 1) and (2 ). above. and (4) the Bidding and Auction Procedures approved pursuant to the
  motion of the Seller.
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  2. Purchase Price, Acceptable Funds

          Paragraph 2.01. The purchase price C;Purchase. Price'~) to be paid by Purchaser to Seller
  for the Property is One Million ($1,000,000.00) and 00/ 100 Dollars or such other bid by the
  Purchaser approved by the Bankruptcy Court, payable as follows:

                  (A) One Hundred 'Thousand ($100,000.00) and 00/100 Dollars on the signing of
  this Contract, by Purchase(s check payable to the Escrowce (as hereinafter defined), subject to
  col1ection. the receipt of which is hereby ackno\vlcdged~ to be held in escrow pursuant to
  Bidding Procedures as defined in Article 3 hereof (the ~-Down Payment..).

                 (B) The balance at Closing (as hereinafter defined) in accordance with SectiQ11
  2.02 hereof (the ..Balance'')

          Paragraph 2.02. All monies payable under this Contract. unless otherwise specified
  herein. shall be paid by (a) certified checks of Purchaser drmvn on any federally insured bank~
  savings bank. trust company or savings and loan association having a banking office in the City
  of New York; (b) official bank checks drawn by any such banking institution, payable to the
  order of Seller (or as Seller shall direct) and bearing no endorsements; or (c) wire transfer of
  immediately available federal funds. Attqrney's Escrow Checks c,f Pµrchaser payable to the
  order of Seller for as Seller directs) up to the- amotmt of $1 ~000 .00 in the aggregate shall be
  acceptable for sums other than the Purchase Price :payable to S¢ller ~t Closing.

  3. Escrow of Down Payment

          Ptu-agraph 3.0 I . (a) The Down Payment shall be paid by check or checks dravm to the
  order of and delivered to Abrams Fensterman~ LLP ("·Escrowee'~). The Escrowee shall hold the
  Down Payment in escrow in a non.:interest-bearing IOLA Account until the Closing or sooner
  termination of this Contract and shall pay over or apply the Down Payment in accordance \\-1th
  the terms of this section. At the Closing~ the Down Payment shall be paid by Escrowee in
  accordance with Bidding Procedures. If for any reason the Closing does not occur and either
  party makes a written demand upon Escrm.vcc for payment of such amount, Escrowee shall give
  written notice to the other party of such demand. If Escrowee does not receive a written
  objection from the other party to the proposed payment within l 0 business days after the giving
  of such notice, Escrowee is hereby authorized to make such payment. If Escrowee does receive
  such written objcc-tion within such 10-day period or if for any other reason Escrowee in good
  faith shall elect not to make such payment Escrowee shall continue to hold such amount .until
  otherwise directed by written instructions from the parties to this Contract or pursuant to an order
  of the Bankruptcy Court. However, Escrowee shall have the right at any time to deposit the
  escrowed proceeds and interest, if any, thereon, with the clerk of the Bankruptcy Court.
  Escrowee shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
  Escrowee shall be reJicved and discharged of all further obligations and responsibilities
  hereunder.

         (b) The parties acknowledge that Escrowee is acting solely as n stakeholder at their
  request and for their convenience. that Escrowee shall not be deemed to be the agent of either of
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  the parties, and that Escrowee shall not be liable to either of the parties for any act or omission
  on its part unless taken or s.uffored in bad faith~ in willful disregard of this Contract or involving
  gross negligenc.e. Seller and Purchaser shall jointly 8,l'ld .severally indemnify ~c:f hpld Escrowee
  harmless from and against all costs, clahns and expenses, including reasonable attorneys.' fees,
  incurred in connection with the perfonnance ofEscrowee's duties hereunder, except with respect
  to actions or omissions taken or suffered by Escrowee in had faith. in willful disregard of this
  Contractor involving gross negligence on the part of the Escrowee.

          (c) Escro,vee or any member of its firm shall be permitted to act as counsel for the SeJler
  in any dispute as to the disbursement of the Down Payment or any other dispute between the
  parties whether or not Escrowee is in possession of the Down Paymentand continues to act as
  Escrowee.

          (d) Escrowee acknowledges receipt of the Down Payment by certified, bank check
  subject to collection or wire transmission and Escrnwee's agreement to these provisions by
  signing in the plac~ indicated on the signature page ofthiscontact.

  4. The Closing

          Paragraph 4.01. The conveyance of title to the Property by the Seller to Purchaser~ and
  payment of the Balance by Purchaser shall take place on the thirtieth calendar day after the
  issuance of an order from the bankruptcy cout1 approving the Contract and authorizing the sale
  under its terms (the ··Closing..). The Closing is to be held at the otlice of the Seller·s attorney~
  Abrams, Fensterman, LLP 1 Metro Tech Center, Suite 1701, Brooklyn, New York: 11201,
  Escrowee,, TIME OF THE ESSENCE. If the thirtieth (30th ) cale11dar day shall fall on a Saturday,
  Sunday or legal holiday, the actual date of closing shall be the next business day following.
          Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
  Purchaser shall have a one-time right to adjourn the closing of up to fifteen (15) calendar days
  from the original <late. Purchaser shall exercise the right to adjourn the closing date no less than
  ten ( 10) calendar days prior to the date set forth for Closing under Paragraph 4.0 I. Upon the
  Purchascr·s exercise of the right to extend the Closing Date, the Purchaser shall increase the
  contract deposit by an additional $100,000.00. Should the Purchaser not elect to extend the
  Closing Date or should the Purchaser fail to pay the additional contract depositas required
  herein, then in either of those events, the Purchaser shall not be entitled to any extension of the
  Closing Date.

  5. Acknowledgments and Representations of Purchaser

          Purchaser acknowledges and represents that:

          Paragraph 5.01. Purchaser has inspected the Prope11y, made all appropriate inquiries into
  the previous ownership and uses of the Property, is fully familiar with the physical condition and
  state of repair thereof. and shall accept the Property -~as is~' and in their present condition,
  including. without limitation, the environmental conditions as reflected in the Terms of Sale
  annexed hereto. without any reduction of the Purchase Price for any change in such condition by
  any reason thereof subsequent to the date of this Contract. The Terms of Sale set forth

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  conditions which Purchaser agrees to accept. including any covenant, easement:- and/o.r deed
  restriction, and any other future obligation relating thereto.

          Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
  of the Property~ the physical condition and state of repair thereof including the environmental
  conditions. Purchaser acknowledges that h is :an experienced real estate owner/oJ:ierator and· i~.
  relying solely on its own expertise and investigations and inspections i11 entering into this
  Contract and has not been induced by and has not relied upon any representations,, warranties, or
  statements, whether express or implied~ made by Seller or any agent, employee, or other
  representative of Seller or by any other person representing or purporting to represent Seller or
  Proponent, which are not expressly set forth in this Contract, whether or not any such
  representations, wananties or statements were made in writing or orally.

          Paragraph 5.03. In the event of any default by the Pw·chaser in the terms of this Contract,
  the damages which are due to the Seller. by reason of said default, shall be deemed liquidated in
  the amount of the Down Payment, as Selle(s sole remedy. it being agreed that Seller's damages
  in case of such default might be impossible to ascertain with mathematical precision and that the
  Down Payment constitutes a fair and reasonable amount of damages under the circumstances and
  is not a penalty.

          Paragraph 5.04. Purchaser represents that (a) it has the leg&l power, right and authority to
  enter into this Agreement and to consummate the transactions contemplated hereby and that all
  requisite action has been taken by Purchaser in connection with the entering into this Contract
  and the consummation of the transactions contemplated hereby; (b) this Contract and all
  documents required hereby to be executed by Purchaser are and will be valid. legalJy binding
  obligations of and enforccabk against Purchaser in accordance with their te1ms (c) Purchaser,
  and all direct or indirect beneficial owners of Purchase1\ are in compliance with all applicable
  Jaws, statutes~ rules and regulations of any federal. state or local governmental authority in the
  United States of America, including the requirements of Executive Order No. 13224, 66 Fed.
  Reg. 49079 (Sept. 25. 2001) (the ~ ..Order'') and other similar requirements contained in the rules
  and regulations of the Office of Foreign Asset Controt Depa11ment of the Treasury ("OF AC"}
  and in any related enabling legislation or other Executive Orders (collectively, the ''Orders").
  Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
  the Specially Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
  the Order and/or on any other list of terrorists or tetTorist organizations maintained pursuant to
  any of the rules and regulations of OFAC or pursuant to any other applicable Orders (such lists
  are collectively referred to as the ··Lists") or is owned or controlled:by, or acts for ,pr on behalf
  of, any Person on the Lists or who has been determined by competent authority to be subject to
  the prohibitions contained in the Orders; (ii) has been atTested for money laundering or for
  predicate crimes to money laundering~ convicted or pled nolo contendere to charges involving
  money laundering or predicate crimes to money laundering: or (iii) has been detcnnined by
  competent authority to be subject to the prohibitions contained in the Orders~ (iv) is owned or
  controlled by, nor acts for or on behalf of. any natural person or entity (a '•Person~) on the Lists
  or any other Person who has been determined by competent authority to be subject to the
  prohibitions contained in the Orders; (v) will transfer or permit the transfer of any interest in
  Purchaser or such parties to any Person who is, or whose beneficial owners are, listed on the

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  Lists; or (vi) will assign this Agreement or any interest herein, to any Person who is listed on the
  Lists or who is engaged in illegal activities.

  6. Destruction, Damage or Condemnation

            Paragr~ph6.01. The,prov.isions of Section 5-1311 of the General Obligations Law'shall
  not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close.
  title to the Property regardless of any de~truction, damage or condemnation that occurs after'the
  execution and delivery of this Contract.

  7. Seller's Closing Obligations

          At the closing, Seller shall execute and/or deliver or cause to be executed and/or
  delivered to Purchaser the following:

         Paragraph 7.01. A bargain and sale deed without covenants against grantor·s acts.,
  executed by the Seller in proper form for recording so as to convey to Purchaser the fee title to
  the Property. subject to recorded encumbrances and the other conditions of this Contract.

          Paragraph 7.02. All required New York City and State transfer ta.--< returns executed by
  the Seller to be issued at the Closing and delivered to the.representafrve of Purchaser~s title
  company for delivery to the appropriate public officers promptly after the Closing.

          Paragraph 7.03. The right to possession of any vacant portions of the Property in
  condition required by this Contract, subject to the provisions hereinabove and to the provisions
  of the Code and the laws of the State of New York governing the rights to possession upon the
  conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
  Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
  obtaining possession of any part of the Property, or to remove any tenant or occupant therefrom
  after delivery of the Deed.

         Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
  by Seller to consummate this transaction.

  8. Purchaser's CJosing Obligations

          At the Closing, Purchaser shall execute and/or deliver:

          Paragraph 8.01. The Balance to the Seller.

           Paragraph 8.02. All required New York City and State transfer tax"returns and cause all
  such returns to be issued at the Closing and delivered to the representative of Purchaser's title.
  company for delivery to the appropriate public officers promptly aftetthe Closing. Purchas~r
  \\ill pay all recording fees together with any brokerage commission to the broker herein. Per the
  Bankruptcy plan no transfer taxes are anticipated to be due on this sale.



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          Paragraph 8.03. Any other documents required by this Contract or by law or reasonably
  required by Seller to be executed and/or delivered by Purchaser to consummate this transaction.

  9. Apportionments

         Paragraph 9.0 I. The parties specifically acknowledge that there shall be no
  apportionments made as of the date of Closing, whether for taxes~ water or sewer charges,
  emergency repair liens, assessments, rents~ fuel, or any other matters relating hereto.

  10. Objections to Sale

           Paragraph I 0.01. This Contract shall automatically terminate if the Court rejects the-Sale
  or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
  Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
  the Bidding Procedures. Purchaser nevertheless may elect either (i) to accept such title as Seller
  may be able to convey, but without any abatement of or other credit to the Purchase Price or
  liability on the part of Seller~ or (ii) to terminate tbis Contract. The sole liability of Seller shall be
  to refund the Dovvn Payment and interest thereon, if any. to the Purchaser and this Contract shall
  be null and void and the parties hereto shall be relieved of all fu1ther obligations and liability.
  Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
  title detect or to enable Seller otherwise to comply with the provisions of this Contract, except as
  may otherwise be provided in this Contract.

          Paragraph 10.02. Purchaser shall take title to the Prope1ty ~·as is" and subjectto: any state
  of facts an accurate survey may show; encroachments, covenants, easements, and restrictions of
  record~ if any; violations~ fines, penalties~ zoning regulations, and ordinances of the-City of New
  York. Purchaser is aware of and agrees to the Te1ms of Sale which arc attached to this.Contract
  and which arc incorporated in this Contract by this reference as though fully set forth herein at
  length.

  11. Notices

          Paragr-aph 11.01. All notices under this Contract shall be in \vriting and shall be delivered
  personally, by nationally recognized overnight cmuier, addressed to Seller's attorney at the
  address set fo1ih below. and to Purchaser addressed to Purchaser's attorney at the address set
  fo1th belo\:V.

  Scller·s Attorney:
  Abrams. Fensterman. LLP
  I MetroTech Center, Suite 170 l
  Brooklyn, New York 1120 l
  Attn: Mark J. Caruso, Esq.
  mcarus<>-,I.abramslm\-.l\?..!11




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  Purchaser· s Attomcy:




  12. Limitations on Survival of Representations, Warranties, Covenants and other
  Obligations

          Paragraph 12.01. Except as otherwise expressly set forth in this Contract, no
  representations, warranties. covenants or other obligations of Seller and/or Purchaser set forth
  herein shall survive the Closing except as specifically provided to survive, and ·no action based
  thereon shall be commenced after the Closing except as to such representations specifically
  provided to survive.

          Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
  Purchaser shall be deemed the ful] performance and disc·harge of every obligation on the partof
  Seller to be performed hereunder~ except those obligations, if any, ofSeller which are expressly
  stated in this Contract to survive.

  13. Assignment of Contract

          Paragraph 13 .0 I. Purchaser shall have no right to assign this Contract except as
  provided for herein. Purchaser may assign its rights under this Contract, but only immediately
  before the Closing and only simultaneously with the payment of the Cash Balance, to any wholly
  owned subsidiary of Purchaser. or to any entity in which Purchaser. or its principals, has an
  equity interest of at least fifty-one (51 %) percent and control of management (a '•ControJled
  Entity"~), upon appropriate proof of same delivered to Proponent. Any purported assigrunentnot
  in conformity \\·1th the provisions hereof shall be void. Any sale, transfer or assignment of any
  interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
  conditions as an assignment of this Contract. Nevertheless, no assignment shall be effective
  unless and until an executed counterpart of the instrument of assignment and assumption
  agreement by the As~ignee in strict confom1ity of the requirements of this Paragraph shall have
  been delivered to Seller.

         .Paragraph 13.02. Seller shall assign pending tax certiorari actions, if any, to Purchaser
  without any representations or warranties, and without tmy further obligation of Seller, except to
  execute such documents as may be necessary to effectuate such assignment.

  14. Miscellaneous Provisions



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       Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
  ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH
  SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
  PROCEDURES OR ORDERS.

          Paragraph 14.02. Subject to the provisions of Paragraph I4.01, this Contract embodie$
  and constitutes the entire understanding between the parties with respect to the transaction
  contemplated hereby~ and all prior agreements, understandings, representations and statement$,
  oral or written~ are merged into this Contract Neither this Contract nor any provision hereof may
  be waived, modified, amended, discharged, or terminated except by ru.1 instrument signed· by the
  party against whom the enforcement of such waiver~ modification, amendment, discharge, or
  tennination is sought!' and then only to the extent set forth in such instrument.

          Paragraph 14.03. This Contract shall be governed by. and constrned in accordance with,
  the Bm1kruptcy Code and the Orders of the Bankruptcy Court and, \Vhere it does not conflict
  with the Bankruptcy Code or any Order of the Bankruptcy Court, the laws of the State of New
  York. The Bankruptcy Court shall have the exclusive jurisdiction to dctennine any disputes
  concerning the sale of the Property or any other matters under this Contract.

         Paragraph 14.04. The captions in this Contract are inserted for convenience or reference
  only and in no way define, describe~ or limit the scope or intent of this Contract or any of the
  provisions hereof.

          Paragraph 14.05. This Contract shall be binding upon and shall .inure to the benefit of the
  parties hereto and their respective heirs or successors and pem1itted assigns.

          Paragraph 14.06. This Contract shall _not be binding or effective until properly executed
  and delivered by Seller and Purchaser~ together with all amounts required to be paid pursuant to
  2.01 (A) hereto. This Contract may be executed in counterparts each of which will constitute an
  original and all of which. when taken together. wm constitute one and the same agreement. A
  signed counterpan of this Contract delivered by electronic transmission will be treated as an
  original.

          Paragraph 14.07. As used in this Contract, the masculine shall include the feminine and
  neuter, the singular shall include the plural. and the plural shall include the singular, as the
  context may require.

         Paragraph 14.08. Subject to Paragraph 14.0 I~ if the provisions of any schedule or rider to
  this Contract arc inconsistent with the provisions of this Contract. the provisions of such
  schedule or rider shall prevail.

         Paragraph 14.09. This Contract may be executed in counterparts, each of which when
  executed shall be deemed to be an original and all of which together shall constitute a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures shall be
  deemed original signatures.



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         Paragraph 14.10. Seller and Purchaser represent and warrant to each other that
  Rosewood Realty Group (the ··Broker~') is the only Broker with whom the Seller and Purchaser
  have dealt in connection with this Contract. Any brokerage commission due Broker shaH be paid
  by Purchaser at closing. Purchaser shall indemnity and defend Seller against any out-of"'.popke.t
  costs, claims or expenses including attorney~ s fees arising out of breach of this representation,
  wmTanty or any agreement contained within this paragraph. This paragraph shall survive the
  closing or if the closing does not occur, the termination of the Contract.




                                        Signatur~ Page to FoU ow




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 IN WITNESS WlfEREOF; the;parti~$ h.:ereto have exe¢uted ,thi$ Cq,tjft~9t~''.Qf:jh:efdate'ifitst:
 above written, :                                                      ·                                 ·            ·




  SJ STANHOPE LLC C'Seller'')



 BY ................___.__,.~"T'I'~=-=-=:---- -
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  Escrowee:

  Abrams.Eenstem1an;LLP



  By _ _ _ _ _ _ _ _ _ ___
  Name:
  Title:




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  ADDENDUM DATED AS OF FEBRUARY_, 2022 TO THE ANNEXED CONTRACT
                       OF SALE (the "Contract")


 SELLER:                       53 STANHOPE LLC


 PURCHASER:                    MAGUIRE BKLN LLC


 PREMISES:                     53 STANHOPE STREET, BROOKLYN, NEW YORK 11238

       Amending and modifying the annexed Contract, the parties agrees as follows:


    I. That the effective date of the Contract shall be February 28, 2022;
    2. That the purchase price be amended and modified to $1,019,661.39 which includes the
       Purchaser's obligation for the break-up fee of $19,661.39;
    3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14. I 0
       the sum of$50,000.00 as and for Purchaser's obligation towards the broker commission;
    4. Purchaser's attorney for the closing is: _W_t~___\_~            c ....___ _ _ _ _ __
                                                          __. __..J__:).....




    5. This Addendum may be executed in counterparts, each of which when executed shall be
        deemed to be an original and all of which together shall constitute a single instrument
        binding upon the parties and the use of .pdf electronic signatures shall be deemed original
        signatures.
    6. This Addendum shall be deemed part of the Contract. All of the tenns and conditions set
        forth in the Contract remain in full force and effect, except to the extent hereby specifically
        modified or amended by the Addendum.
                                                                53 STANHOPE LLC ('~Seller'')




                                                                MAGUIRE BKLN LLC ("Purchaser")

                                                                By:
                                                                Name:
                                                                               5-2%::-
                                                                        }.)..,J...,._~
                                                                                   ~-z.ro..~
                                                                Title: ~ . - i ~ \      ~s~~
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 CONTRACT dated as of the ________ day of January, 2022 (this ··Contract"), between Eighteen
 Homes LLC (the ··Seller~· or ··Debtor'·) having an address at
 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and Maguire BKLN LLC, having an address at
 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (the ''Purchaser'').

         Seller and Purchaser hereby covenant and agree as follows:

 1. Sale of Property

        Paragraph 1.01. Seller shall sell or cause to be sold to Purchaser, and Purchaser shall
 purchase, at the price and upon the terms and conditions set forth in this Contract: the reaJ
 properties located at


                                                        Eighteen Homes LLC
         th
  263 I 8 Street, Brookl ·n NY 11215

  (collectively, the '·Property"). The sale of the Property includes (a) all of its appurtenanc~s,
 including any estate~ right, title, interest, property, claim and demand of Seller in and to all
 streets, alleys~ rights-of-way. sidewalks. easements, any adjoining gores or strips of land and
 utility lines or agreements, including, without limitation~ all development rights and '"air rights"
 of Sellers as of the date hereof~ (b) all improvements, buildings and structures located on or at
 the Prope1ty and the facilities located thereon, and any apparatus, equipment, appliances and
 fixtures incorporated therein and used exclusively in connection with the operation and
 occupancy thereof: (c) all plans. specifications, budgets, schedules, surveys, drawings, reports
 and governmental applications. permits, approvals and licenses issued by any fede1~a1, state or
 local governmental authority or agency pertaining to the ownership, operation~ maintenance,
 development. construction or use of the Property (collectively. the ··Plans and Permits..); and (d)
 all of its rights and licenses in and to use the Plans and Permits.

          Paragraph 1.02. Purchaser acknowledges that the Sale shall be conducted pursuant to an
  Order of the United States Bankruptcy Court for the Sou them District of New York (hereinafter
  the ··Bankruptcy Courf') in Case No. 19-230 l 3~ entitled ~-Bidding and Auction Procedures~'
  (hereinafter the -•.Bidding Procedures'') which was approved by the Bankruptcy Court on Jw1e 11,
  2021 and is deemed annexed to this Contract.

          Paragraph 1.03. Purchaser acknowJedges that this sale is subject to and governed by (1)
  the Orders of the Bankruptcy Court, (2) the provisions of the United States Bankruptcy Code
  (hereinafter the '·Code")~ (3_) the laws of the State of New York, to the extent they do not conflict
  with (I) and (2), above, and (4) the Bidding and Auction Procedures approved pursuant to the
  motion of the Seller.
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 2. Purchase Price, Acceptable Funds

         Paragraph 2.0 l. The purchase price ("'Purchase Price'') to be paid by Purchaser to Seller
 for the Property is One Million Six Hundred Thousand ($ 1,600,000.00) and 00/100 Dollars or
 such other bid by the Purchaser approved by the Bankruptcy Court, payable as follows:

                 (A) One Hundred Sixty Thousand($ 160,000.00) and. 00/100 Dollars on the
 signing of this Contract. by Purchaser~s check payable to the Escrowee (as hereinafter defined),
 subject to collection~ the receipt of which is hereby acknowledged, to be held in escrow pursuant
 to Bidding Procedures as defined in Article 3 hereof (the "Down Payment").

                (B) The balance at Closing (as hereinafter defined) in accordance with Section
 2.02 hereof (the '·Balance")

         Paragraph 2.02. All monies payable under this Contract. unless otherwise specified
 herein, shall be paid by ( a) certified checks of Purchaser drawn on any federally insured bank,
 savings bank~ trust company or savings and loan association having a banking office in the City
 of New York: (b) official bank checks dra\vn by any such banking institution, payable to the
 order of Seller (or as Seller shall direct) and bearing no endorsements; or (c) wire transfer of
 immediately available federal funds. Attorney's Escrow Checks of Purchaser payable to the
 order of Seller (or as Seller directs) up to the amount of $1,000.00 in the aggregate shall be
 acceptable for sums other than the Purchase Price payable to Seller at Closing.

 3. Escrow of Down Payment

          Paragraph 3.01. (a) The Down Payment shall be paid by check or checks drawn to the
 order of and delivered to Abrams Fensterman~ LLP (""Escrowee"). The Escrowee shall hold the
 Down Payment in escrow in a non-interest-bearing IOLA Account until the Closing ot sooner
 termination of this Contract and shall pay over or apply the Down Payment in accordance with
 the terms of this section. At the Closing. the Do\:vn Payment shall be· paid by Escrowee in
 accordance with Bidding Procedures. lf for any reason the Closing does not occur and either
 party makes a written demand upon Escrowee f-or payment of such amount Escrowee shall give
 written notice to the other pru1y of such demand. If Escrowec does not receive a written
 objection from the other party to the proposed payment within IO business days after the giving
 of such notice, Escrowee is hereby authorized to make such payment. If Escrowee does receive
 such written objection within such I0-day period or if for any other reason Escrowee in good
 faith sha11 elect not to make such payment, Escrowec shall continue to hold such amount until
 otherwise directed by written instructions from the parties to this Contract or pursuant to an order
 of the Bankruptcy Court. However. Escrowee shall have the right at any time to deposit the
 escrowed proceeds and interest, if any, thereon, with the clerk of the Bankruptcy Court.
  Escrowce shall give written notice of such deposit to Seller and Purchaser. Upon such deposit
 Escrowec shall be relieved and discharged of.all further obligations and responsibilities
 hereunder.

          (b) The parties acknowledge that Escrowee is acting solely as a stakeholder at their
  request and for their convenience. that Escrovvee shall not be deemed to be the agent of either of


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 the parties. and that Escrowee shall not be liable to either of the pa11ies for any act or omission
 on its part unless taken or suffered in bad faith, in willful disregard of this Contract or involving
 gross negligence. Seller and Purchaser shall jointly and severally indemnify and hold Escrowe,e
 ha1mless from and against all costs, claims and expenses, including reasonable attorneys' fees,,
 incu1Ted in connection with the perfom1ance of Escrowee' s duties hereunder, except with :respect
 to actions or omissions taken or suffered by Escrowee in bad faith, in willfol disregard of this
 Contractor involving gross negligence on the part of the Escrowee.

         (c) Escrowee or any member of its firm shall be permitted to act as counsel for the Seller
 in any dispute as to the disbursement of the Down Payment or any other dispute between the
 parties whether or not Escrowee is in possession of the Down Payment and continues to.act as
 Escrowee.

         (d) Escro,vee acknowledges receipt of the Down Payment by certified, bank check
 su~ject to collection or wire transmission and Escrowee~s agreement to these provisions by
 signing in the place indicated on the signature page of this contact.

 4. The Closing

           Paragraph 4.01. The conveyance of title to the Property by the Seller to Ptn:Ghaser, and
 payment of the Balance by Purchaser shall take place on the thirtieth calendar day afterthe
 issuance of an order from the bankruptcy court approving the Contract and authorizing the sale
 under its terms (the ·'Closing·~). The Closing is to be held at the office of the Seller's attorney,
 Abrams, Fcnsterman. LLP 1 MetroTech Center, Suite l 70L Brooklyn, New York, 11201,
 Escrowee,, TIME OF THE ESSENCE. If the thirtieth (30 th ) calendar day shall fall on a Saturday~
 Sunday or legal holiday, the actual date of closing shall be the next business day following.
           Paragraph 4.02. Notwithstanding anything contained in Paragraph 4.01 to the contrary,
 Purchaser shall have a one-time right to adjourn the closing of up to fifteen (15) calendar days
 from the original date. Purchaser shall exercise the right to adjourn the closing date no less than
 ten ( l 0) calendar days prior to the date set forth for Closing under Paragraph 4.01. Upon the
 Purchaser~s exercise of the right to extend the Closing Date. the Purchaser shall increase the
 contract deposit by an additional $ l 60~000.00. Should the Purchaser not elect to extend the
 Closing Date or should the Purchaser foil to pay the additional contract deposit as required
 herein~ then in either of those events. the Purchaser shall not be entitled to any extension of the
 Closing Date.

  5. Acknowledgments and Representations of Purchaser

         Purchaser acknowledges and represents that:

          Paragraph 5.0 I. Purchaser has inspected the Property, made all appropriate inquiries into
  the previous ownership and uses of the Property. is fully familiar with the physical condition and
  state of repair thereof, and shall accept the Property ··as is" and in their present condition,
  including~ without limitation. the environmental conditions as reflected in the Terms of Sale
  annexed hereto, without any reduction of the Purchase Price for any change in such condition by
  any reason thereof subsequent to the date of this Contract. The Terms of Sale set forth

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 conditions which Purchaser agrees to accept, including any covenant~ casement, and/or deed
 restriction. and any other future obligation relating thereto.

          Paragraph 5.02. Before entering into this Contract, Purchaser has made such examination
 of the Property~ the physical condi ti.on and state of repair thereof including the environmental
 conditions. Purchaser acknowledges that it is an experienced real estate owner/operator and is
 relyin'g solely on itc; own expertise and investigations and inspections in entering into ti.tis
 Contract and has not been induced by and has not relied upon any representations, wan-antics, or
 statements, whether express or implied, made by Seller or any agent, employee, or other
 representative of Seller or by any other person representing or purporting to represent Seller or
 Proponent, which are not expressly set forth in this Contract, whether or not any such
 representations, warranties or statements were made in writing or orally.

         Paragraph 5.03. In the event of any default by the Purchaser in the terms of this Contract,
 the damages which are due to the Seller, by reason of said default~ shall be deemed liquidated in
 the amount of the Down Payment, as Sellefs sole remedy~ it being agreed that Seller's damages
 in case of such default might be impossible to ascertain with mathematical precision and that the
 Dovvn Payment constitutes a fair and reasonable amount of damages under the circumstances and
 is not a penalty.

          Paragraph 5.04. Purchaser represents that (a) it has the legal power, right and authority to
 enter into this Agreement and to consummate the transactions contemplated hereby and that all
 requisite action has been taken by Purchaser in connection with the entering into this Contract
 and the consummation of the transactions contemplated hereby; (b) this Contract and all
 documents required hereby to be executed by Purchaser are and will be valid, legally binding
 obi igations of and enforceable against Purchaser in accordance with their terms (c) Purchaser,
 and all direct or indirect beneficial owners of Purchaser, are in compliance with all applicable
 laws, statutes, rules and regulations of any federal, state or local governmental authority in the
 United States of America, including the requirements of Executive Order No. 13224, 66 Fed.
 Reg. 49079 (Sept. 25, 2001) (the "'Order") and other similar requirements contained in the rules
 and regulations of the Office of Foreign Asset Control, Department of the Treasury ("'OFAC")
 and in any related enabling legislation or other Executive Orders (collectively, the ··Orders").
 Neither Purchaser nor any of the direct or indirect beneficial owners of Purchaser (i) is listed on
 the SpeciaJly Designated Nationals and Blocked Persons List maintained by OFAC pursuant to
 the Order and/or on any other list of terrorists or terrorist organizations maintained pursuant to
 any of the rules and regulations of OF AC or pursuant to any other applicable Orders (such lists
 are collectively reterred to as the ··Lists") or is owned or controlled by, or acts for or on behalf
 01: any Person on the Lists or who has been determined by competent authority to be subject to
 the prohibitions contained in the Orders; (ii) has been arrested for money laundering or for
 predicate crimes to money laundering, convicted or pied nolo contendere to charges involving
 money laundering or predicate crimes to money laundering; or (iii) has been determined by
 competent authority to be subject to the prohibitions contained in the Orders; (iv) is owned or
 controlled by. nor acts for or on behalf of: any natural person or entity (a ··Person'~) on the Lists
 or any other Person who has been determined by competent authority to be subject to the
 prohibitions contained in the Orders; (v) will transfer or pem1it the transfer of any interest in
 Pw·chaser or such pm1ies to any Person \Vho is. or whose beneficial owners are, listed on the

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 Lists; or {vi) will assign this Agreement or any interest herein, to any Person who is listed onthe
 Lists or who is engaged in illegal activities.

 6. Destruction, Damage or Condemnation

           Paragraph 6.01. The provisions of Section 5-131 I of the General Obligations Law shall
 not apply to the sale and purchase provided for in this Contract and Purchaser agrees to close
 tit1e to the Property regardless of any destruction, damage or condemnation that occurs after the
 execution and delivery of this Contract.

 7. Seller's Closing Obligations

         At the closing, Seller shall execute and/or deliver or cause to be executed and/or
 delivered to Purchaser the following:

         Paragraph 7.01. A bargain and sale deed without covenants against grantor's acts,
 executed by the Seller in proper form for recording so as to convey to Purchaser the fee title to
 the Property,. subject to recorded encumbrances and the other conditions of this Contract.

         Paragraph 7.02. All required New York City and State transfer tax retums executed by
 the Seller to be issued at the Closing and delivered to the representative of Purchaser's title
 company for delivery to the appropriate public otlicers promptly after the Closing.

         Paragraph 7.03. The right to possession of any vacant po1tions ofthe Property in
 condition required by this Contract, subject to the provisions hereinabove and to the provisions
 of the Code and the laws of the State of New York govemi~g the·rights:to possession upon the
 conveyance of the deed subject to any Order of the Bankruptcy Court and the Bidding
 Procedures. Seller shall not be obligated to bring any motion or proceeding for the purpose of
 obtaining possession of any part of the Property. or to remove any tenant or occupant therefrom
 after de Ji very of the Deed.

        Paragraph 7.04. Any other documents required by this Contract or by law to be delivered
 by Seller to consummate this transaction.

 8. Purchaser's Closing Obligations

         At the Closing~ Purchaser shall execute and/or deliver:

         Paragraph 8.0 I. The Balance to the Seller.

           Paragraph 8.02. All required New York City and State transfer tax returns and caus·e-all
  suc.h returns to be issued at the Closing and delivered to the representative ofJ>urchaser's tide
  company for delivery to the appropriate public officers promptly after the Closing. Purchaser
  will pay all recording fees together with any brokerage commission to the broker herein. Per the
  Bankruptcy plan no transfer taxes are anticipated to be due on this sale.



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        Paragraph 8.03. Any other documents required by this Contract or by law or reasonab1y
 required by Seller to be executed and/or delivered by Purchaser to consummate this transaction.

 9. Apportionments

       Paragraph 9.01. The paities specifically acknowledge that there shall be no
 appmtionments made as of the date of Closing, whether for taxes, water or sewer charges,
 emergency repair liens, assessments. rents. fuel, or any other matters relating hereto~

 10. Objections to Sale

          Paragraph 10.01. This Contract shall automatically tem1inate if the Court rejects the Sale
 or if Seller shall be unable to cause title to the Property to be conveyed to Purchaser at the
 Closing Date or any adjournments thereof in accordance with the provisions of this Contract and
 the Bidding Procedures. Purchaser nevertheless may elect either (i) to acc~pt sµch title as Seller
 may be able to convey~ but without any abatement of or other credit to the Purchase Price or
 liability on the part of Seller: or (ii) to terminate this Contract. The sole liability of Seller shall be
 to refund the Down Payment and interest thereon. if any. to the Purchaser and this Contract shall
 be null and void and the pai1ies hereto shall be relieved of all fu11hcr obligations and liability.
 Seller shall not be required to bring any action or proceeding or to incur any expense to cure any
 title defect or to enable Seller otherwise to comply with the provisions of this Contract, except as
 may otherwise be provided in this Contract.

         Paragraph l 0.02. Purchaser shall take title to the Property ··as is~' and subject to: any state
 of facts an accurate survey may show~ encroachments. covenants. easements, and restrictions of
 record, if any; violations! fines, penalties, zoning regulations, and ordinances of the City of New
 York. Purchaser is aware of and agrees to the Terms of Sale which are attached to this Contract
 and which are incorporated in this Contract by this reference as though fully set forth herein at
 length.

  11. Notices

          Paragraph 11.0 I. All notices under this Contract shall be in writing and shall be delivered
  personally, by nationally recognized overnight courier, addressed to Seller·s attorney at the
  address set forth below, and to Purchaser addressed to Purchaser's attorney at the address set
  forth below.

  Seller~s Attorney:
  Abrams. Fenstcrman. Ll,P
  I MctroTech Center. Suite 1701
  Brooklyn, New York I 1201
  Attn: Mark J. Caruso. Esq.
  mcuruso ,1:abrams ia\ ,, .c(1n1




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 Purchaser·s Attorney:
 ·-----·- - - - - - - -




 12. Limitations on Sunrival of Representations, Warranties, Covenants and other
 Obligations

         Paragraph 12.01. Except as othcnvise expressly set forth in this Contract, no
 representations, warranties. covenants or other obligations of Seller and/or Purchaser set forth
 herein shall survive the Closing except as specifically provided to survive, and no action based
 thereon shall be commenced after the Closing except as to such representations specifically
 provided to survive.

         Paragraph 12.02. The delivery of the deed by the Seller and the acceptance thereof by
 Purchaser shall be deemed the full performance and discharge of every obligation on the part of
 Seller to be perfonned hereunder. except those obligations. if any, of Seller which are expressly
 stated in this Contract to survive.

  13. Assignment of Contract

         Paragraph 13.01. Purchaser shall have no right to assign this-Contract except as
 provided for herein. Purchaser may assign its rights under this Contract~ but only immediately
 before the Closing and only simultaneously with the payment of the Cash Balance, to any wholly
 owned subsidiary of Purchaser. or to any entity in which Purchaser~ or its principals, has an
 equity interest of at least fifty-one (51 % ) percent and control of management (a ··Controlled
 Entity~"), upon appropriate proof of same dcliver~d to Proponent. Any purported assignment not
 in confonnity with the provisions hereof shall be void. Any sale. transfer or assignment of any
 interests in Purchaser will be deemed an assignment of this Contract and is subject to the same
 conditions as an assignment of this Contract. Nevertheless, no assignment shall be effective
 unless and unti I an executed counterpart of the instrument of assignment and assumption
 agreement by the Assignee in strict confonnity of the requirements of this Paragraph shall have
 been delivered to Seller.

         Paragraph 13 .02. Seller shall assign pending tax ce1tiorari actions, if any, to Purchaser
  without any representations or warranties, and without any further obligation of Seller, except to
  execute such documents as may be necessary to effectuate such assignment.

  14. Miscellaneous Provisions




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      Paragraph 14.01 THE PROVISIONS OF THE BIDDING PROCEDURES AND THE
 ORDERS OF THE COURT ARE A PART OF THIS CONTRACT. ANY CONFLICT WITH
 SUCH IN THIS CONTRACT WILL NOT BE DEEMED TO AMEND OR ALTER SAID
 PROCEDURES OR ORDERS.

         Paragraph 14.02. Subject to the provisions of Paragraph 14.01. this Contract embodies
 and constitutes the entire understanding between the parties \Vith respect to the transaction
 contemplated hereby~ and all prior agreements~ understandings, representations and statements,
 oral or written, are merged into this Contract. Neither this Contract nor any provision hereof may
 be waived, modified. amended, discharged, or terminated except by an instrument signed by the,
 party against whom the enforcement of such waiver'.' modification,, amendment! discharg~, or
 termination is sought~ and then only to the extent set forth in such it1strwnent.

         Paragraph 14. 03. This Contract shall be governed by. and construed in accordance. with,
 the Bankruptcy Code and the Orders of the Bankruptcy Court and, where it does not conflict
 with the Bankruptcy Code or any Order of the Bankruptcy Court, the laws of the State ofNew
 York. The Bankruptcy Court shall have the exclusive jurisdiction to determine any disputes
 concerning the sale of the Property or any other matters under this Contract.

        Paragraph 14.04. The captions in this Contract arc insc11ed for convenience or reference
 only and in no way define, describe. or limit the scope or intent of this Contract or any of the
 provisions hereof.

         Paragraph 14.05. This Contract shall be binding upon and shall inure to the benefit of the
 parties hereto and their respective heirs or successors and permitted assigns.

         Paragraph 14.06. This.Contract shall not be binding or effective until properly executed
 and delivered by Seller and Purchaser. together with all amounts required to be paid pursuant to
 2.01 (A) hereto. This Contract may be executed in counterparts each of which will constitute an
 original and all of which, when taken together! will constitute one and the same agreement. A
 signed counterpart of this Contract delivered by electronic transmission will be treated as an
 original.

          Paragraph 14.07. As used in this Contract~ the masculine shall include the feminine and
  neuter, the singular shall include the plural. and the plural shall include the singular, as the
  context may require.

         Paragraph 14.08. Subject to Paragraph 14.01. if the provisions of any schedule or rider to
  this Contract arc inconsistent with the proYisions of this Contract. the provisions of such
  schedule or rider shall prevai I.

         Paragraph 14.09. This Contract may be executed in counterparts. each of which when
  executed shall be deemed to b~ an original and all of which together shall constitute a single
  instrument binding upon the parties and the use of facsimile or electronic/.pdf signatures sha11 be
  deemed original signatures.



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         Paragraph 14.10. Seller and Purchaser represent and wrurnnt to:each other that
 Rosewood Realty Group (the "Broker~~) is the only Broker with whom the Seller and Purchaser
 have dealt in c01mection ,:vith this Contract. Any brokerage commission due Broker shall be paid
 by Purchaser at closing. Purchaser shall indcmniiY and defend Seller against any out-of-pocket
 costs, claims or expenses including attomey·s fees arising out of breach of this representation,
 wan-anty or any agreement contained within this paragraph. This paragraph shall survive the
 closing or if the closing does not occur. the termination of the Contract.




                                    Signature Page to Follow




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 Eighteen Homes LLC (·Seller")



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 -Abrams:. Fenstemu'i'n~LLP




  By _ _ _ _ _ _ _ __
  Name:
  Title:
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  ADDENDUM DATED AS OF FEBRUARY_, 2022 TO THE ANNEXED CONTRACT
                                        OF SALE (the "Contract")


 SELLER:                           EIGHTEEN HOMES LLC


 PURCHASER:                        MAGUIRE BKLN LLC


 PREMISES:                         263 18th STREET, BROOKLYN, NEW YORK 11215

        Amending and modifying the annexed Contract, the parties agrees as follows:


    I. That the effective date of the Contract shall be February 28, 2022;
    2. That the purchase price be amended and modified to $1,631,458.22 which includes the
        Purchaser's obligation for the break-up fee of $31,458.22;
    3. At closing, Purchaser shall pay the broker identified in the Contract under Paragraph 14.10
        the sum of $80,000.00 as and for Purchaser's obligation towards the broker commission;
    4. Purchaser's attorney for the closing is: __\,)_.__
                                                       \\_____.o.c....,;;;\__..,_.\<____.__ _ _ _ _ _ __




    5. This Addendum may be executed in counterparts, each of which when executed shall be
        deemed to be an original and all of which together shall constitute a single instrument
        binding upon the parties and the use of .pdf electronic signatures shall be deemed original
        signatures.
    6. This Addendum shall be deemed part of the Contract. All of the tenns and conditions set
        forth in the Contract remain in full force and effect, except to the extent hereby specifically
        modified or amended by the Addendum.
                                                                        EIGHTEEN HOMES LLC ("Seller")


                                                                       By _ ........_____,,..__ ___ ___
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         IN WITNESS WHEREOF,. the parties hereto have executed this Contract as ofthe.:.4~t~,
 first above written.




 By .........,......._____,.~,..,..~=-=-=:--- -
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                  .ase ,,

  Name:     __               ~
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  Title_:




  Escrowee:

   Abrams Fensterman, LLP




   By ___________
   Nan1e:
   Title:




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                               Exhibit B
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                   Chapter 11

         53 STANHOPE LLC, et al,1                                       Case no. 19-23013 (RDD)
                                                                        Jointly Administered
                                    Debtors.
----------------------------------------------------------x
                 ORDER APPROVING SALE TO _________________________

                  Upon the motion (the "Motion") of 53 Stanhope LLC, 325, Franklin LLC, 618

Lafayette LLC, 92 South 4th St LLC, 834 Metropolitan Avenue LLC, 1125-1133 Greene Ave

LLC, APC Holding 1 LLC; Eighteen Homes LLC, and 1213 Jefferson LLC (collectively, the

“Debtors”), approving the sale by __________________________ (the “Debtor”) of that certain

real property located at __________________________________ (the “Property”) free and clear

of all liens, claims and encumbrances pursuant to that certain contract of sale (the “Sale

Agreement,” annexed hereto) to _______________________________ (the “Purchaser”) in

accordance with the Order approving the Debtors’ Joint Plan of Liquidation (the “Plan” Dkt.

285) and the Order and Notice of Amended Bidding and Auction Procedures (Dkt. 357), and the

Court having jurisdiction to consider the Motion and the relief requested therein pursuant to 28

U.S.C. §§ 157 and 1334; and venue being proper before this Court under 28 U.S.C. §§ 1408 and

1409; and due and proper notice having been given, and it appearing that no other or further

notice need be provided; and the Court having determined that the Debtors have established




1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
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cause for the relief requested; and it appearing that the relief requested in the Motion is in the

best interest of the Debtors and creditors; and all objections to the Motion having been

withdrawn or overruled; and upon the hearing held before this Court on March 14, 2022, upon all

of the proceedings had before the Court and upon due deliberation and sufficient cause appearing

therefor, it is hereby:

                ORDERED, that the Motion is granted; and it is further

                ORDERED, that the Motion, the Sale Agreement, and all ancillary documents and

transactions contemplated therein, including the sale of the Property and the assumption of the

Property leases by the Debtor and assignment of such leases to the Purchaser, are approved, and

it is further

                ORDERED, that the Debtor and the Purchaser are authorized and empowered

under the Bankruptcy Code, including sections 105 and 363 thereof, to perform their respective

obligations under the Sale Agreement and to take such actions as are necessary and appropriate

to effectuate the terms of the Sale Agreement without any further authorization or order of this

Court; and it is further

                ORDERED, that pursuant to the Plan and section 363(f) of the Bankruptcy Code,

the sale of the Premises is "free and clear" of liens, claims, interests and encumbrances,with all

such liens claims and encumbrances to attach to the sale proceeds under the Plan, and it is further

                ORDERED, that the assumption of the Leases by the Debtor and assignment to

the Purchaser upon closing will be a valid, legal, and effective assignment, notwithstanding any

requirement for approval or consent by any entity; and it is further



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                ORDERED, that the Purchaser shall be deemed a good faith purchaser and shall

be accorded all the protections of such good faith purchaser provided pursuant to section 363(m)

of the Bankruptcy Code; and it is further

                ORDERED, that the Purchaser agrees to a closing to be scheduled in accordance

with the terms of the Sale Agreement; and it is further

                ORDERED, that this Court shall retain exclusive jurisdiction to enforce the

provisions of this Order and the Sale Agreement, and to resolve any dispute concerning this

Order, the Sale Agreement, or the rights and duties of the parties hereunder or thereunder or any

issues relating to the Sale Agreement and this Order, including, but not limited to, interpretation

of the terms, conditions and provisions thereof, and all issues and disputes arising in connection

with the relief authorized herein; and it is further

                ORDERED, that the failure to specifically include any particular provision of the

Sale Agreement in this Order shall not diminish or impair the efficacy of such provision, it being

the intent of this Court that the Sale Agreement and each and every provision, term and condition

thereof be authorized and approved in their entirety; and it is further

                ORDERED, that pursuant to Bankruptcy Rule 6004(h), this Order shall be

effective immediately upon its entry, and the sale approved by this Order may close immediately

upon its entry, notwithstanding any otherwise applicable waiting periods; and it is further;

                ORDERED, the Property and the deed to the Property shall be transferred to the

Purchaser to implement the Plan, and pursuant to 11 U.S.C. § 1146(a). The making or delivery

of any deed or other instrument of transfer under, in furtherance of, or in connection with the

Plan, including, without limitation, the sale of the Property in accordance with the terms of the

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Plan, shall not be subject to any stamp, real estate transfer, documentary, registration, sales,

added-value, mortgage release, mortgage recording, or similar tax.

Dated: White Plains, New York
       March ____, 2022

                                               ____________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




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